     Case 3:11-cv-04454-SI
Case 2:09-cv-02158-CJC      Document
                        Document 109-328-9
                                        Filed Filed 09/26/14
                                              06/09/14        Page
                                                         Page 137 of 1263
                                                                       of 127
                                                                           Page ID
                                   #:4756




 • Many factors drive the costs of non-California federal capital
     habeas corpus cases. The factors noted above explained only 14
     percent of the costs of the 84 non-California cases;
 • One or more factors driving the costs of cases in California are not
     captured in either model; and
 • None of the factors included were robust predictors of case costs.
     That is, the statistically significant factors in one model were not
     statistically significant in the other model.


 The results appeared to depend on the sample of cases—a different
 sample of cases in the analysis would likely have yielded different
 results as to which factors are significant. In addition, many factors
 not included in the regression model influenced costs.


 For these reasons, the regression analysis supports the notion that case
 costs are based on a variety of unpredictable factors. As suggested by
 attorneys, such factors might include, the complexity of the petitioner's
 personal background, particulars of the crime and the circumstances
 surrounding the crime, and the idiosyncrasies of the state trial.


Methodology

 PwC initially reviewed the factors suggested by attorneys for high
  costs of federal capital habeas corpus cases. These factors included:


  D Attorney experience (number of previous capital cases and years
       of experience);
  > Number of murder victims;

                                     VI-88                                  PR10EWATERHOUsECOOPERS 0



                                             Exhibit 12
                                             Page 518
     Case 3:11-cv-04454-SI
Case 2:09-cv-02158-CJC      Document
                        Document 109-328-9
                                        Filed Filed 09/26/14
                                              06/09/14        Page
                                                         Page 138 of 2263
                                                                       of 127
                                                                           Page ID
                                   #:4757




 D     Number of co-defendants;
 D.    Judicial denial of resources at the state or federal post-conviction
       stages;
 D     Size of trial record;
  D    Number of habeas corpus claims raised;
  >    Defendant history of mental illness;
  D    Length of state trial;
  D. Whether investigation at trial involved travel to other states;
  D    Continuity of counsel from state to federal post-conviction
       proceedings;
  D    Number of state post-conviction proceedings;
  >    Denial of attorney requests (for experts, attorney fees, and for
       evidentiary hearings) at the federal post-conviction proceedings;
  > Denial of a request for an evidentiary hearing at the state post-
       conviction proceedings; and
  D    Whether funding was provided for the state post-conviction
       proceedings.


  From these factors, PwC removed those during initial testing did not
  show an impact on case costs. PwC then developed two final
  regression models to test.


  The results of the two regression analyses are shown in Table VI-4 and
  Table VI-5 below. The factors that showed the most significant impact
  on costs are in bold and are at the top of the table. The table shows:
  •   The value of the coefficient—this shows how much the costs of the
      case increase if the relevant factor increases. For example, if the

                                     VI-89                                  PRICEWITERtpusECW PERS 0



                                              Exhibit 12
                                              Page 519
     Case 3:11-cv-04454-SI
Case 2:09-cv-02158-CJC      Document
                        Document 109-328-9
                                        Filed Filed 09/26/14
                                              06/09/14        Page
                                                         Page 139 of 3263
                                                                       of 127
                                                                           Page ID
                                   #:4758




      number of years of attorney experience is a factor (X 1), and the
      coefficient of that factor is -$1,000, then for each year of attorney
      experience, on average the costs of a federal capital habeas corpus
      case decrease by $1,000. If the sign of the coefficient is negative,
      the factor decreases costs rather than increases costs.
  •   The level of confidence in statistical significance—the factor (and
      value of the coefficient) can only be considered to affect case costs
      if the factor is statistically significant, which depends on the results
      of statistical tests. The regression analysis only provides evidence
      that the factors with a "yes" in these columns affect the costs of
      cases. For columns with a "no," the value of the coefficient is not
      statistically reliable.
  •   The value of "i ) "—the percentage of the difference in costs
      explained by the factors in the model; the "r 2" value of 0.65 means
      that 65 percent of the costs of the cases are explained by the factors
      in the model, and the remaining 35 percent of the costs are
      unexplained (or due to other factors).


  The level of confidence in the statistical significance of the variables is
  shown for both a 95 percent confidence level (the generally accepted
  level of confidence by statisticians) and at the 90 percent confident
  level (a lower level of confidence). When a factor is statistically
  significant, it is unlikely that the regression results are due simply to
  sampling error (that is, picking a sample that is unrepresentative of all
  cases). A factor that is statistically significant most likely affects costs,
  either increasing costs or decreasing costs, depending on the sign of the
  coefficient.


                                       VI-90                                  PRICEWATERNOUSECOOPER5



                                               Exhibit 12
                                               Page 520
     Case 3:11-cv-04454-SI
Case 2:09-cv-02158-CJC      Document
                        Document 109-328-9
                                        Filed Filed 09/26/14
                                              06/09/14        Page
                                                         Page 140 of 4263
                                                                       of 127
                                                                           Page ID
                                   #:4759




Results

 The first table shows the results of the model that analyzed the costs of
 both California and non-California cases, and the second table shows
 the results of the second model that analyzed the costs of non-
  California cases only.


  For the model that included all cases, three factors appear to be
  statistically significant:
  1. Whether travel to other states for investigation was required at the
      trial—an indication of the need for travel at the federal post-
      conviction stage;
  2. Whether there was continuity of counsel between the state and
      federal post-conviction stages—as expected, continuity of counsel
      decreases the costs at the federal level (that is, the coefficient is
      negative); and
  3. Whether the case originated in California—not surprisingly, this
      confirmed previous findings, that cases in California are
      significantly more costly than non-California cases.


  Neither of the first two factors was statistically significant in the
  second model of non-California cases. This implies that the need for
  travel and continuity of counsel had a different impact on the costs of
  non-California cases compared to the impact on California cases. In
  fact, no factor was statistically significant at the generally accepted 95
  percent level of confidence in the non-California model. This implies
  that there are other factors, not included in the list above, that affect the
  cost of cases.

                                        VI-91                                  PRCEWATERHOUsECOOPERS



                                                Exhibit 12
                                                Page 521
     Case 3:11-cv-04454-SI
Case 2:09-cv-02158-CJC      Document
                        Document 109-328-9
                                        Filed Filed 09/26/14
                                              06/09/14        Page
                                                         Page 141 of 5263
                                                                       of 127
                                                                           Page ID
                                   #:4760




  During the case study interviews, attorneys identified several reasons
  why costs in California may differ significantly from the costs of non-
  California cases—such as the impact of the California's Office of the
  Attorney General on increasing the hours spent in litigation. Some of
  the reasons—for example, the tendency of the attorney general's office
  to litigate exhaustion requirements—cannot be easily converted into
  objective quantifiable data that can be analyzed using regression
  analysis.


  A curious result of the non-California model is that the number of
  pages of the trial record is statistically significant at a 90 percent level
  of confidence, but the coefficient was negative. This suggests that after
  taking all the other factors in the analysis into account, the longer the
  trial record, the lower—not higher—the costs. This is counterintuitive,
  and at odds with the finding in the data analysis that shows that more
  time is spent in California cases reviewing the trial record and
  documents than in non-California cases. This is one indication that the
  results of the analysis may be subject to sampling error, or that the
  models fail to capture some of the most important cost drivers.


  Less surprisingly, attorney experience is a statistically significant
  factor at the 90 percent confidence level (the more experienced the
  attorney the lower the costs), as is the number of state post-conviction
  proceedings. (The more times the case enters the state courts, the lower
  the costs at the federal post-conviction stage, presumably, because the
  issues are dealt with effectively at the state level and require less
  investigation and research at the federal level. This is inconsistent

                                       VI-92                                     PRICEWATERIpU sECOOPERS 0



                                               Exhibit 12
                                               Page 522
     Case 3:11-cv-04454-SI
Case 2:09-cv-02158-CJC      Document
                        Document 109-328-9
                                        Filed Filed 09/26/14
                                              06/09/14        Page
                                                         Page 142 of 6263
                                                                       of 127
                                                                           Page ID
                                   #:4761




 with an alternative hypothesis that costs increase if the case "bounces"
 between state and local courts as issues as attorneys take time to
 refresh their memory, familiarize themselves with new laws and case
 law, renew contact with witnesses, and so on). However, to conclude
 that these factors are statistically significant, PwC has to decrease the
 acceptable level of confidence from the generally accepted standard of
 95 percent to 90 percent. Thus, while there was evidence that suggests
 these two factors are statistically significant, the evidence is not strong.


 Finally, the value of? in the first model was 0.65. This means that 65
 percent of the costs of these cases is explained by the factors shown in
 the table. This is a substantial percentage of costs. In contrast, the
 value of? in the non-California model—which excluded California
 cases—was only 0.14 , or 14 percent. The reason for the difference is
 the impact of the California variable in the first model. The analysis
 shows—confirming the data analysis—that California cases have
 higher costs. In the second model, California costs were excluded to
 rule out the impact of California cases on the model results and to see
 whether the analysis can determine the factors driving the costs of non-
 California cases. Removing the California cases and the California
 variable from the model clearly changes the results, as shown below in
 Table VI-4. This is the basis for concluding that the same factors
  affect the costs of California and non-California in different ways.




                                      VI-93                                  PRICEWATE RNOusECCOPERS 0




                                              Exhibit 12
                                              Page 523
     Case 3:11-cv-04454-SI
Case 2:09-cv-02158-CJC      Document
                        Document 109-328-9
                                        Filed Filed 09/26/14
                                              06/09/14        Page
                                                         Page 143 of 7263
                                                                       of 127
                                                                           Page ID
                                   #:4762




                     Table VI-4-: Regression Model of All Cases
   Factors                     Coefficients        Statistically     Statistically
                                                  Significant at    Significant at
                                                       95%               90%
                                                   Confidence        Confidence
                                                     Level?            Level?
   Travel for
   Investigation                63,167.27              YES—           YES—
   (at trial)*                                        Increases      Increases
                                                        Costs          Costs
   California                  400,739.50              YES—           YES—
   Case*                                              Increases      Increases
                                                        Costs          Costs
   Continuity of
   Counsel from                                        YES—           YES—
   State to                    -46,527.00             Decreases      Decreases
   Federal PCP*                                         Costs          Costs
   No. of Prior
   Capital                       -857.22                 NO           YES—
   Representations                                                   Decreases
   by Counsel                                                          Costs
   Pages of Trial                                                     YES—
   Record (by                  -19,339.66                NO          Decreases
   category)               -                                           Costs
   No. of State                                                       YES—
   PCPs                        -17,245.36                NO          Decreases
                           -                                           Costs
   Judge Denied
   Resources at                 4,219.47                 NO              NO
   Federal PCP*                                                                         '
   Judge Denied
   Evidentiary                  9,721.91                 NO              NO
   Hearing at State
   PCP *
   Provision of
   Funding for                 -12,840.08                NO              NO
   State PCP*
   Number of
   Claims (Federal               436.29                  NO              NO
   PCP)
   Number of                                              105
   Cases
   Value of r2 (r-
   squared)                                               0.65




                                              VI-94                                  PRICEWATERHOUsECCDPER5 0



                                                       Exhibit 12
                                                       Page 524
     Case 3:11-cv-04454-SI
Case 2:09-cv-02158-CJC      Document
                        Document 109-328-9
                                        Filed Filed 09/26/14
                                              06/09/14        Page
                                                         Page 144 of 8263
                                                                       of 127
                                                                           Page ID
                                   #:4763




            Table VI-5-: Regression Model of Non-California Cases
  Factors                Coefficients        Statistically     Statistically
                                            Significant at    Significant at
                                                 95%               90%
                                             Confidence        Confidence
                                               Level?            Level?
  Number of
  Claims (Federal           959.71               NO          YES—Increases
  PCP)                                                          Costs
  Pages of Trial
  Record (by              -11,248.78             NO              YES—
  category)                                                  Decreases Costs
  Travel for
  Investigation (at       -8,560.28              NO                NO
  trial)*
  Continuity of
  Counsel from            -19,478.77             NO                NO
  State to Federal
  PCP*
  No. of Prior               16.07
  Capital                                        NO                NO
  Representations
  by Counsel
  No. of State             -3,154.21             NO                NO
  PCPs
  Judge Denied
  Resources at             7,787.59              NO                NO
  Federal PCP*
  Judge Denied
  Evidentiary             -19,349.73             NO                NO
  Hearing at State
  PCP *
  Provision of
  Funding for State        15,204.80             NO                NO
  PCP*
  Number of Cases                                  84
  Value of ? (r-
  squared)                                         0.14




  To further investigate the factors driving costs, and why the factors
  examined in the regression analysis did not show significant results,
  PwC analyzed the costs of cases in particular states.

                                        VI-95                                  PRICEWATERHOUSECCOPERS



                                                Exhibit 12
                                                Page 525
     Case 3:11-cv-04454-SI
Case 2:09-cv-02158-CJC      Document
                        Document 109-328-9
                                        Filed Filed 09/26/14
                                              06/09/14        Page
                                                         Page 145 of 9263
                                                                       of 127
                                                                           Page ID
                                   #:4764




Section VII: Comparative Study of Selected States

  This section analyzes the average case costs of six states, as well as
  procedural and cultural factors of those states, in an attempt to further
  explain cost disparities between California and non-California federal
  capital habeas corpus cases. The states examined are the same as those
  for which case studies were collected. In order to concentrate on the
  costliest parts of a case, this analysis concentrates on the three stages
  of proceeding in which most costs are incurred:
  • The habeas petition stage;
  • The evidentiary hearing stage; and
  • The appeals stage.
  Because some factors influence case costs in more than one stage, a
  final category entitled "All Stages" discusses those factors that may
  contribute to costs over the lifetime of a case.


  This section combines findings from the C.TA Panel Attorney Payment
  System database, the survey results, and the case studies. The case
  study profiles are furnished in Appendix C. The three sets of data
  support each other in providing reasons for California's significantly
  higher average costs per case.


VILI Habeas Petition Stage

  As shown earlier, California has a more costly habeas petition stage
  than any other state—almost $250,000 more costly on average than the
  second most costly state studied. Because the habeas petition stage
  accounts for so much of costs, there is a correlation between the

                                      VII-96                                  PRICEWATERNOUSECOOPER5




                                               Exhibit 12
                                               Page 526
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              146 of10 of 127
                                                                     263   Page ID
                                   #:4765




  average cost of an entire case and the average cost of the habeas
 petition stage of proceeding. For example, Texas was the least
  expensive state studied and also had the lowest average cost per case
  for the habeas petition stage.


     5400,000
                                                                      13    Avg Cost of Petition Stage

                                                                      tii   Avg Casa Cast
     $350000
                                                                                                                             .• ,

                                                                                                                       1,1 WY
     $300,000


                                                                                                                        I/        •


                                                                                                         .                   .




                                                                                                         .i?, 0        '         •'•'

                                                                                                                  ..                  •

     2100,000

                                                     4,-....,

      250.030                                                                               i;                  .1.,




                                                                                                             k7j4
           so
                235.5        452.8                556.9                389.1                     471.3          1925.0
                 TX           Al.                   IL                  PA                        MO              CA

                        Average Number of 01A-of-Court Hours por Casa In the Haboos Petition Stago




   Figure VH-1: Average Cost of the Habeas Petition Stage of a Case for
                             Selected States


  The case studies offer some explanation for the differences shown in
  Figure VII-1 above. For the two California cases, many of the facts in
  the cases were underdeveloped at the state level and required many
  hours of investigation at the federal level. Attorneys hypothesized that
  lack of funding at the state post-conviction level resulted in
  underdeveloped cases reaching federal court. The California attorneys
  stated that as a result, they spent more time performing investigations
  at the federal habeas corpus petition stage than attorneys in other
  states. In support of this assertion, the payments to investigators are

                                                   VII-97                                                                                 PRICEVVATERNOUSECODPERS



                                                                 Exhibit 12
                                                                 Page 527
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              147 of11 of 127
                                                                     263   Page ID
                                   #:4766




 much higher in California than in the other states studied. By contrast,
 most of the investigation in the case study from Alabama took place at
  the state level; hence investigation costs were low.


  The survey data also indicates that California attorneys are denied
  resources at the state post-conviction proceedings more frequently than
  non-California attorneys. Eighty-three percent of California attorneys
  surveyed stated that their requests for discovery in state court were
  denied or sharply reduced, compared with 59 percent of non-California
  attorneys.


  Among the four states in Figure VII-2 below (Alabama and
  Pennsylvania did not have any cases which billed for investigators),
  California attorneys were four times more likely to use investigators
  than attorneys in the other states. On average, investigators in an
  average California case cost more than $15,000 compared with $1,000
  in.Missouri, $1,100 in Texas, and $700 in Illinois. These figures do
  not include attorney time spent on investigation, and indicate that
  investigations may be much more thorough in California federal
  courts. A high level of investigation may also explain the relatively
  high average cost in Missouri, where the attorney interviewed
  emphasized the necessity of conducting new investigations at the
  federal district level.'




" See Case study #3 in Appendix C.

                                     VII-98                               PRICEWATERHOUsECODPERS



                                              Exhibit 12
                                              Page 528
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              148 of12 of 127
                                                                     263   Page ID
                                   #:4767




     $18,000.00



     $16,000.00



     $14,000.00

                                                                                         ■(       ,■ 1
     $12,000.00
                                                                                                      i
                                                                             -...••'4:7-'




                                                                                                  ■     '


                                                                                      -.,...''
                                                                                     '                4,5


      $6.000.00                                                                  •,,ii,,,



      $4,000,00

                                                                             '              •.'         ,
      $2,000.00



                             .    1:7    . T2(-,, q,. 1   .    legefj.FJ:    "" A                 M.
          $0,00
                    022                 0.16                       0.32              1.30
                    TX                   IL                        MO                CA

                                   Average Numer of Investigators Per Case




  Figure          Average Cost of Investigators Per Case for Selected States


 In addition, the trial records in California are longer than trial records
 in other states, requiring attorneys to spend substantial time reading
  and understanding the case's history. As federal capital habeas
  attorneys read the record, they must not only look for general themes
  of the case, but they must also decide which specific portions of the
 record are relevant when writing the federal habeas corpus petition.


  The data in the CIA Panel Attorney Payment System database supports
  the anecdotal evidence provided in the case studies on the amount of
  time that attorneys spend reviewing the trial records. California
  attorneys spend an average of 188 hours per case, compared with 136
  hours in Missouri. The product of the average number of hours and the
  average out-of-court rate provides the average cost per case. In
  California, attorneys spent $25,300 for reviewing the record, which is

                                           VII-99                                                           PRICEWATERHOWECCOPER5



                                                          Exhibit 12
                                                          Page 529
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              149 of13 of 127
                                                                     263   Page ID
                                   #:4768




 $10,000 more than Missouri, and $20,000 more than a typical state like
 Pennsylvania.


      53,000,00




      325,000.00
                                                                                         ,




      $20,000.00
                                                                                        :,.-, 2A
   c.s
    g $15,000.00


                                                                           4                             4

      $10.001190                                                                                         1-
                                                                                              ‘:,...
                                                                                                 „

                                                                                                       .-.P'
                                                                                   -4   ;I
       35,000.00
                                                                           i       1
                                                                                        ,-)

           $0.09
                    42.1       69.4         74.1                42.4           136.3      1137.8
                     TX         AL           IL                  PA             MO         CA

                                       Average, Humbor of Hours Par Casa




               Figure VII-3: Average Cost Per Case for Selected States
                            of Reviewing Court Records


  The case studies illustrated one factor possibly limiting costs in Texas
  and Alabama. This factor is that the attorneys did not bill for all their
  work because of historically low payments. Judges can also decide
  how much of a voucher is worthy of reimbursement and can cut what
  they want. Sometimes an attorney could choose not to bill because of
  an expectation that a judge will cut his or her voucher. In California,
  attorneys stated that they are generally paid the full amount of a
  submitted voucher. One of the California attorneys stated that when the
  judge tried to cut his vouchers, he argued with the judge and in the
  end, received the money. Different billing practices in each state,
  therefore, may partly explain the variations in costs.
                                        VII-100                                                         PRICEWATERHOUSECCOPER5



                                                       Exhibit 12
                                                       Page 530
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              150 of14 of 127
                                                                     263   Page ID
                                   #:4769




VIII Evidentiary Hearing Stage

  In California, the average cost of the evidentiary hearing stage was
  almost twice the average cost of the average evidentiary stage in the
  next most costly case study state. In fact, the average cost of an
  evidentiary hearing in California, over $100,000, was greater than the
  average cost of an entire federal capital habeas corpus case of the other
  case study states examined. The graph below provides a more detailed
  comparison.


     $400,003.00
                                                     Oftvg Stage of Proc. Cost
                                                     El Avg Case Cost

     $350,000.00
                                                                                      :


     $303,000.00



      $250,000.00



   a $200.000.00
                                                                                  EN

      $150,000.00



      5100,00000


       $50,000.00


                          ,. -.,          ..„ ....
            $0.00
                    TX             IL    PA                  MO                  CA
                                        State



   Figure 'VH-4: Average Cost Per Case of the Evidentiary Hearing Stage
                           for Selected States


  Again, the case studies suggested reasons for these differences in costs.
  A California attorney stated that in California, the State Supreme Court
  rarely holds evidentiary hearings during state post-conviction
  proceedings. Holding an evidentiary hearing at the state level may


                                        VII-101                                           PRICEVVATERHOLSECCOPERS   0



                                                      Exhibit 12
                                                      Page 531
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              151 of15 of 127
                                                                     263   Page ID
                                   #:4770




  decrease the need for an evidentiary hearing at the federal level.
  However, if an evidentiary hearing is not held at the state level, the
  district court may want the evidence to be presented at the federal
  level. Special circumstances, such as the discovery of new evidence
  and so on may create the need for a hearing in both state and federal
  court. Part of the reason why hearings in the federal level might be
  more expensive than at the state level is because so much time has
  elapsed since the state trial. Changes in the law and delays in
  interviewing witnesses create additional challenges for the federal
  capital habeas attorney. According to data in the CIA Panel Attorney
  Payment System database, 42 percent of all California federal capital
  habeas cases proceeding to the appeals stage had evidentiary
  hearings.46 In all of the other states, only 11 percent of cases had an
  evidentiary hearing by the appeal stage.


  The higher cost of evidentiary hearings can also be attributed to the
  frequent use of experts in California cases, especially mental health
  experts (psychiattists and psychologists). On average, a California
  case uses 4.3 experts per case, more than three times the number of
  experts used in Missouri and eight times the number used in Texas or
  Pennsylvania (no Alabama case billed for expert costs). This translates
  into an average expenditure of $39,500 per case in California, while
  other states averaged less than $4,000. Thus, the average cost per case
  of experts in California is at least 10 times higher than in other states.



" The California attorneys interviewed believed that almost all California federal capital habeas
corpus cases have an evidentiary hearing at some point-possibly on remand by the Ninth
Circuit.

                                             VII-102                                        PRICEWATERHOUSECCOPERS




                                                        Exhibit 12
                                                        Page 532
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              152 of16 of 127
                                                                     263   Page ID
                                   #:4771




                                                                                     71M-
                                                                                      e".14



                                                                                     4Z.
   3   S25,000.00

   2
       520,000.00


       S15,000.00                                                                    ,*
       S1 0,C00.00



        S5,000.00


            50.00
                              I
                     0.52         0.28                  0.56                  1.58   4.30
                     -   rx        IL                    PA                   MO      CA
                                         Average Number of Experts Per Case



       Figure V11-5: Average Cost of Experts Per Case for Selected States


  Equally important is the difference between cases in California and
  other states in the likelihood of using mental health experts. The
  attorney who provided representation in one California case study
  considered the cost of the psychologist and psychiatrist very costly.
 The CJA Panel Attorney Payment System database and the survey data
  show that this was typical of California cases. California federal
  capital habeas corpus cases average 1.54 mental health experts per
  case, seven times the 0.20 average of other states. The average cost of
 mental health experts per case in California was $9,000, 10 times the
  average cost in Pennsylvania, the median state.




                                          VII-103                                           PRICEWATERHOUsECCOPERS




                                                        Exhibit 12
                                                        Page 533
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              153 of17 of 127
                                                                     263   Page ID
                                   #:4772




       $10,000.00


        69,000.00                                                                               ..._ ,,
                                                                                          n let
        56,000.00
                                                                                                 '44
        $7,000.00


        S6,000.00
                                                                                         ....   4-
   8
   0
        $5,000.00


        64,000.00
                                                                                    4                7"



        $3.000.00
                                                                                                rj
        $2,000.00                                                                   -A




        $1,000.00


            60.00
                                                                                     v.              ty

                    0.18       0.12                   0.22                   0.68          1.54
                    DC          IL                     PA                    MO            CA
                                Average Number of Mental Health Experts Per Case



       Figure V11-6: Average Cost Per Case of Mental Health Experts for
                               Selected States


 In addition to the higher expert costs, California attorneys on average
  spent more time consulting experts. The average amount of time spent
 per case in California was 107 hours, which, when multiplied by the
  average out-of-court attorney rate, translates into $14,500 per case,
  $12,000 more than Missouri. Non-California attorneys in the case
  studies stated that if they were granted more money for experts, they
  could greatly improve the strength of their cases.




                                        WI-104                                                        PRICEWATERHOUSECODPERS




                                                       Exhibit 12
                                                       Page 534
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              154 of18 of 127
                                                                     263   Page ID
                                   #:4773




       $15,000.00
                                                                                                                  1


                                                                                                               __,I
                                                                                                                  !

                                                                                                      1
       $14.000.00


                                                                                        il..4_.
       $12.000.00
                                                                                        ..


       $10,000.00


   a                                                                                                              !I
        58,0013.00


                                                                                                 I
        $5,000.00
                                                                                    a
                                                                                    -                 ,..,..

        $4,000.00
                                                                                                         I.
                                                                                ......., t.,....2

        52.000,00
                                                                                P-' '  4
                                                                                             -          ,
                                                           i3O-4.4.7:4
                                       1.4iard                                                       -',-.
                             iis1
            $0.00
                     13.5   5.8          12.0                13.5        18.3      107.3
                     TX     AL            IL                  PA         MO         CA

                                    Average Number of Hours Per Case




   Figure VII-7: Average Cost Per Case of Consulting With Experts for
                             Selected States



VII.3 Appeal Stage

  An item of further study was a comparison of the cost of the appeal
  stage. California had the highest average cost at the appellate stage,
  but there was no direct correlation between the cost of the appeal stage
  and the average case cost, since the cost of the appeal stage is typically
  a smaller component of total case costs than other stages.




                                     VII-105                                                          PRICEWATERHOUSECODPERS



                                                   Exhibit 12
                                                   Page 535
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              155 of19 of 127
                                                                     263   Page ID
                                   #:4774




        $400.000.00
                                                            0 Avg Stage of Proc. Cost
                                                            B Avg Case Cost

        $350.000.00


        5300.000.00


        5250.000.00

  (.5
        $200,000.00


        $150,000.00


        5100.400.00


         $50.000.00


              $0.00
                      TX         AL       IL           PA             MO                CA
                                               State



   Figure                  Average Cost Per Case of the Appeal Stage for Selected
                                            States


 In the appeal stage, California cases do not cost much more on average
 than cases from other states. The average cost of the appeal stage in
 California was 39 percent higher than in Missouri, the state with the
 next highest costs. This indicates that most of the higher costs are in
 other stages and are concentrated in the district courts.


1/11.4 All Stages

 There are several factors that can drive the costs of a typical federal
 capital habeas corpus case in more than one stage. Some of these
 factors are discussed below.




                                               VII-106                                       PWCEWATERHOUSECCOPERS 0




                                                            Exhibit 12
                                                            Page 536
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              156 of20 of 127
                                                                     263   Page ID
                                   #:4775




Litigation Strategy of the Attorney General

  California attorneys emphasized that the California Attorney General's
  Office never waives exhaustion requirements and litigates all matters.
 The California Attorney General's litigation of exhaustion
 requirements often sends cases back to state court while the federal
 habeas corpus proceedings are ongoing. Survey responses showed that
  California cases were more likely to be simultaneously in federal and
  state court. Eighty-three percent of California cases were in both
  courts at some point in time, compared with 30 percent of non-
  California cases. The case studies revealed that in the states of
  Alabama, Texas, and Pennsylvania (with the exception of
  Philadelphia), the representation for the state typically waives
  exhaustion claims and enforces procedural defenses to expedite the
  entire habeas corpus process. In these places, the state provides
  compensation for representation in proceedings that return to state
  court. The attorneys interviewed suggested that the actions of the
  California Attorney General's Office drive a portion of California
  federal capital habeas corpus attorney activity, which increases case
  costs. However, the litigation strategy of each state's attorney
  general's office cannot be quantified in terms of costs.


Movement of Cases Among the State, District, and Circuit Courts

  As well as "bouncing" down from the federal district to the state court,
  cases can also "bounce" up from the federal district to the federal
  appellate court. Cases may be remanded to the state court to resolve
  exhaustion requirements that the Attorney General pursued, or because
  the district court finds that some issues are underdeveloped. The
                                    VII-107                                PRICLWATERHOUsECCOPERS 0



                                              Exhibit 12
                                              Page 537
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              157 of21 of 127
                                                                     263   Page ID
                                   #:4776




     Attorney General also often files interlocutory appeals, challenging the
     California district courts' rulings on procedural matters. The survey
     data showed that 65 percent of California cases had an interlocutory
     appeal taken to the Ninth Circuit Court of Appeals, compared with 22
     percent of non-California cases. The case studies suggested that this
     tendency to move back and forth might contribute significantly to the
     number of hours spent both preparing and filing documents and
     researching the appropriate court proceedings.


Use of Attorneys from Large Corporate Law Firms 47

     In response to an apparent shortage in the number of available panel
     attorneys, during the 1990s, judges assigned a number of federal
     capital habeas corpus cases to attorneys from large, corporate law
     firms. It is possible that the use of attorneys from such firms increased
     the total, average, and median costs of California cases during the late
     1980s and early 1990s. One possible cause is that the attorneys may
     have been inexperienced in this type of law, and may have used
     different billing practices from smaller criminal law firms who
     typically represent these cases. This factor may not be relevant to
     costs in recent or future federal capital habeas corpus cases, because
     large corporate law firms are generally no longer appointed in federal
     capital habeas corpus cases.



47 Note that this section is not a judgment on the competency or efficiency of one set of
attorneys as opposed to another. Rather, the point is more intuitive: costs are likely to be lower
if the attorney does not need to spend significant amounts of time learning about federal capital
and habeas corpus law.



                                             VII-108                                        ftraWATERHousECOoPERs



                                                         Exhibit 12
                                                         Page 538
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              158 of22 of 127
                                                                     263   Page ID
                                   #:4777




  To investigate the possible cost impact of using attorneys from large
  corporate law firms to provide representation, PwC analyzed the costs
  of the 36 most expensive cases in California. The average cost of these
  cases is approximately $758,000, with costs ranging between $500,000
  and $2,000,000. These case represent only 24 percent of all California
  cases but 44 percent of the total costs in California. As a result, these
  36 cases add $139,771 to the average cost of all the 156 California
  cases. When the costs of these 36 cases are broken down by type of
  attorney", compensation is discovered to be $13,796,719 for the 33
  civil attorneys and $11,531,164 for 47 criminal attorneys. This data
  indicates that civil attorneys were billing more per case than criminal
  attorneys. On average, the 33 civil attorneys contributed $88,441 to
  the average case cost of $372,029 for California's 156 cases. Thus,
  without the vouchers submitted by 33 civil attorneys, the average cost
  of California cases would have been $283,588, rather than $372,029.


  This section does not indicate that if the civil attorneys had not
  provided representation, the average cost would have fallen by
  $88,000. Someone still would have been needed to perform the work.
  The question is whether by criminal attorneys would have performed
  the same work at lower costs.


  There are reasons to believe why this may be the case. Attorneys from
  civil law firms may have been more costly, because they frequently
  used several associates on one case, all of whom bill for the hours that


" PwC asked an attorney familiar with California cases to identify which of the 80 attorneys
providing representation in these cases were employees of large corporate law firms ("civil"
lawyers, or of firms that specialize in criminal cases ( "criminal" lawyers).

                                           VLI-109                                     PWCEWATERHOUSECOOPERS



                                                     Exhibit 12
                                                     Page 539
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              159 of23 of 127
                                                                     263   Page ID
                                   #:4778




 they expended. These attorneys may have also needed to familiarize
 themselves with federal capital habeas corpus law, thus incurring costs
 that would not be charged by experienced capital habeas corpus
  attorneys.


  Billing practices of civil law firms may also differ from those of
  criminal firms in the area of non-travel expenses, which may include
 the cost of paralegals, research assistants, and administrative expenses.
  On average, civil attorneys in the top 36 most expensive cases spent
 three times more money on non-travel expenses than criminal
  attorneys. In the 36 most expensive cases, civil attorneys spent an
  average of $64,139 on non-travel expenses, while criminal attorneys
  spent an average of $22,534. In fact, civil attorneys charged an
  average of $24.83 per hour in non-travel expenses, compared to
  criminal attorneys, who charged an average of $14.28 per hour in other
  expenses, which is 43 percent less.




                                    VII-110                              PRICEWATERHOISECCDPERS g



                                              Exhibit 12
                                              Page 540
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              160 of24 of 127
                                                                     263   Page ID
                                   #:4779




Section VIII: Conclusions

  The three kinds of analyses described above are consistent in their
  portrayal of the costs of federal capital habeas corpus cases and the
  factors that drive those costs. These analyses also suggest why costs of
  cases originating in California are much higher than cases that
  originate in other states. Nevertheless, the issue of why costs are
  higher in California than in other parts of the country is complex, one
  that involves the interaction of many social, judicial, behavioral,
  political and economic factors that create a high-cost environment in
  that state.


  The factors driving the costs of federal capital habeas corpus cases are
  difficult to determine due to the uniqueness of each case:
  • The costs of the federal post-conviction proceedings are
       determined partly by what happens at the state trial and during the
       state post-conviction proceedings; analyzing the costs of federal
       capital habeas corpus cases is relatively similar to examining what
       drives the cost of inspecting products rolling off the end of a faulty
       production line.'
  • The hours spent on an individual case are often determined by
       several factors specific to the case that make generalizations
       difficult; specific factors include:
       e The complexity of the petitioner's personal background;



" The analogy is only partly true: the cost to the federal courts also includes tearing the faulty
product (that is, case) apart and rebuilding it or debating whether the product and product line is
faulty at all.

                                              V111-111                                        PRtaWATERHOusECCOPERS a



                                                         Exhibit 12
                                                         Page 541
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              161 of25 of 127
                                                                     263   Page ID
                                   #:4780




          • Actions undertaken by the trial counsel and the state post-
             conviction counsel;
          • Unusual incidents that happen during the course of the original
             state trials; and
          • The "novelty" of the constitutional claims being raised.


  In spite of these difficulties, PwC was able to reach several conclusions
  on non-case-specific factors as a result of this study. These
  conclusions flow from the data analysis, the factor analysis, and the
  case studies.


VIII. 1     The Costs of Capital Federal Habeas Corpus Cases

National Findings

  •       Of the 783 federal capital habeas corpus eases examined, 631
          were open and 152 were closed. However, 90 percent       of the total
          $102 million costs of the 783 cases were incurred by open cases
          and only 10 percent by closed cases.     The proportionately low
      percentage of costs incurred by closed cases is due to the large
          number of open and costly cases from California. If California
          cases are not included in the analysis, the difference between the
          average cost of open and closed cases disappears.
  •   Eighty-six percent of out-of-court hours are spent preparing and
          writing the habeas petition.   As discussed below, this is most
          probably due to the amount of investigation and legal research
          required during this stage.
  •       Other costly stages include the evidentiary hearing stage and the
          appeal stage. On average, an evidentiary hearing costs $55,000 for
                                         VIH-112                               PRICEWATERHOUSECCOPERS



                                                   Exhibit 12
                                                   Page 542
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              162 of26 of 127
                                                                     263   Page ID
                                   #:4781




      open cases and $20,000 for closed cases. An average appeals stage
      costs $29,000 for open cases and $30,000 for closed cases.
  •   In total, the costs of federal capital habeas corpus cases are
      largely a function of the number of hours spent out of court.
      Approximately 80 percent of the costs of cases are composed of
      attorney fees for time spent out of court.


Regional Findings

  •   The cost of cases in the Ninth Circuit is approximately four times
      greater than the cost of cases in all other circuits.          For both open
      and closed cases, the average cost per case in the Ninth Circuit is
      $289,054, compared to $62,483 for all other circuits combined.
  •   The high cost of cases in the Ninth Circuit is primarily due to the
      high costs of California cases. The average cost of California
      cases is more than $370,000, compared to approximately $70,000
      for non-California cases. The median cost of California cases is
      $307,666, and the median cost of non-California cases is $48,401.
  •    The combined impact of the sheer number (156 cases out of 783)
      and high average cost of California cases is that cases
      originating in California have generated more than 57 percent of
      the total CJA panel attorney payments between FY 1992 and FY
      1998.5° The total amount of C.IA payments (including expert
       expenses) was $102 million between 1992 and 1998. Cases
       originating in California account for $58 million of this total. In



" This includes only the payments analyzed in this study. Some vouchers and cases were not
included in the analysis for various reasons presented in the methodology section.

                                          VIII-113
                                                                                     PRIaWATERtpu sECooPER5 0



                                                     Exhibit 12
                                                     Page 543
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              163 of27 of 127
                                                                     263   Page ID
                                   #:4782




      other words, 20 percent of the cases have generated 57 percent of
      the costs.
 •    Attorneys in the Ninth Circuit spent almost three times as much
      time working out of court as their counterparts in other circuits.
      In addition, expert costs are, on average, more than three times
      as much in the Ninth Circuit as in other circuits. These
      differences account for a large part of the cost differences between
      cases in the Ninth Circuit, compared to cases in other circuits.
 •    California cases cost five times as much as non-California cases
      (from all circuits). There is a gap of approximately $300,000
      between the average cost of a case in California ($372,029) and the
      average cost of a non-California case ($70,360). This difference is
      made up of:
      • $170,000 resulting from the additional out-of-court hours
          worked by attorneys in California;
      • $60,000 resulting from the higher attorney hourly rates in
          California;
      • $35,000 resulting from higher expert costs in California cases;
      • $31,000 resulting from higher attorney expenses in California
          cases; and
      • $4,000 resulting from additional in-court attorney fees in
          California.
      While most of the additional costs in California are due to the
      additional out-of-court hours, expert costs and attorney expenses in
      California are many times the equivalent costs of non-California
      cases (eight times for attorney expenses and 11 times for experts).
  •   Forty-five percent of California attorney out-of-court time is
      spent conducting legal research and writing. Fourteen percent is

                                    V111-114                                 PRICEWATERI:10UsECOOPERS



                                               Exhibit 12
                                               Page 544
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              164 of28 of 127
                                                                     263   Page ID
                                   #:4783




      spent reviewing documents, 8 percent in reviewing the record, and
      6 percent in consulting with experts.


111112 Factor Analysis

 Many factors influence the costs of federal capital habeas corpus cases.
 PwC attempted to identify some of these factors through the use of
 regression analysis, a type of statistical analysis. Due to the number
  and complexity of factors that influence case costs and the variation in
  costs of cases that, on paper, appear similar in terms of case, petitioner,
  and attorney characteristics, the regression analysis was inconclusive.
  One reason for this is that many factors that influence case costs were
  not included in the analysis, either because the factors were too
  difficult to quantify, or because data describing the factors was not
  available.
  •   Regression analysis found that two factors—whether
      investigation for the trial involved travel to other states and
      continuity of counsel between state and federal post-conviction
      proceedings—were significant cost drivers.       However, these two
      factors were not statistically significant when California cases were
      excluded from the analysis, most likely because there are one or
      more other factors affecting costs in California that were not
      captured in the analysis.
  •   The regression analysis of non-California cases found no factor
      that was statistically significant (at the 95 percent level of
      confidence) in driving costs of cases. This means that many
      factors influencing the costs of federal capital habeas corpus cases
      not easily quantifiable. The regression analysis was unable to

                                     VIII-115                               PR/CEWATERHO USECCO PERS




                                                Exhibit 12
                                                Page 545
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              165 of29 of 127
                                                                     263   Page ID
                                   #:4784




       identify any single variable that consistently showed a statistically
       significant relationship to case costs in different tests. Moreover,
       the factors in the model for non-California cases only accounted for
       14 percent of the costs of cases. The remaining costs were
       accounted for by factors outside of the model. This suggests that
       costs are driven by many factors, some of which may be difficult or
       impossible to quantify.
   Although many factors are influencing case costs, attorney survey
   responses indicated the factors that attorneys believe to be the most
   important:
   •     The single most important factor driving the costs of federal
         capital habeas corpus cases is the competency of the state trial
         counsel. Not only is this the view of the attorneys surveyed by
         PwC, but "ineffective assistance of counsel" (at the state trial) is
         the most common claim raised in federal capital post-conviction
         proceedings. Over 80 percent of the attorneys surveyed raised
         this issue in their petition to the federal courts. The problem
         stems from the fact that federal habeas corpus review is, in
         essence, a quality control procedure. Consequently, the costs of
         this procedure depend heavily on whether mistakes were made
         earlier on in the process. This, however, does not explain why
         costs are higher in California compared to elsewhere.
   •     Most attorneys surveyed (70 percent) believe that the attitude of
         the office of the attorney general for the state increased costs in
         the federal capital habeas corpus case they represented. This
         finding supports assertions to this effect made by the case study
         attorneys, notably those from California. Many attorneys noted
         that the behavior of the state attorneys plays a significant role in
                                      W11-116                                   PRCEVVATERHOUSECOOPER5




                                                Exhibit 12
                                                Page 546
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              166 of30 of 127
                                                                     263   Page ID
                                   #:4785




       determining the length and hours spent on a case. For example,
       decisions by the attorney general's office (or the attorney
       representing the state) to raise, rather than waive, exhaustion, and
       other defenses will add to the time spent in litigation and will
       prolong the whole process. As described below, the litigation
       practices of California's Office of the Attorney General appear to
       have a major impact on the costs of cases.


VIII.3 Case Study Analysis and Analysis of States in the
      Ninth Circuit

 The case studies were a useful tool in understanding the factors that
  drive costs of individual federal capital habeas corpus cases. In
  addition, attorneys reviewed statistical findings to ensure that PwC was
  drawing appropriate conclusions from the data. Generally, these
  attorneys were not surprised by the findings and did not challenge
  them. The attorneys also suggested other factors and explained why
  they may be difficult to quantify and capture in responses to a
  questionnaire or in statistical analysis.


  These answers, in combination with the data analysis, the regression
  analysis, attorney opinions, and survey responses, allowed PwC to
  develop, and to some extent test, various hypotheses as to why costs in
  California are higher than cases from other parts of the country.
  • Much time spent by attorneys in California is in response to
      challenges and decisions made by the state attorneys.      A strong
      and common theme from attorneys who practice, or who have
      practiced, in California is that the attorneys representing the state

                                     VIH-117                                  FtaWATERH OUsECCOPERS 0



                                               Exhibit 12
                                               Page 547
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              167 of31 of 127
                                                                     263   Page ID
                                   #:4786




     are persistent in making legal challenges to the actions of the
    petitioner's attorneys at every step in the process. Such behavior
     was not common in other states. For example, the attorneys
     representing the state of California will consistently maintain that
     not all of the habeas claims made by the petitioner have been
     exhausted during the state post-conviction proceedings. Therefore,
     the case is remanded from federal to state court. According to the
     seven case study attorneys, state attorneys in other states, such as
     Texas, often waive this challenge. The Office of the Attorney
     General seems to play an important role in determining the speed
     with which a case moves through the federal courts in California
     and in generating a workload that is unparalleled in other states.
     Among the top 36 most costly California cases, civil law firms
     account for a disproportionate amount of costs.        The use of
     attorneys from large corporate law firms as counsel for some of the
     petitioners possibly increased the total and average costs of cases in
     California. While the top 36 cases represent only about 24 percent
     of California cases, they incurred 44 percent of the total costs in
     California. In fact, the 36 most costly cases added about $139,771
     to the average cost of the 156 California cases. In these 36 cases,
     33 "civil attorneys" (attorneys who were employed in a large
     corporate law firms) provided representation for total fees of just
     under $13.8 million. It is likely that many of these civil attorneys
     were inexperienced in representing habeas corpus and capital cases,
     and spent many hours learning the notoriously complex case law.
     Corporate law firms are accustomed to billing for however many
     attorney hours it takes to research complex legal issues, a different
     practice from smaller, criminal law firms who have fewer
                                    VIII-118                                PKWVATERNOUsECOOPER5 0



                                               Exhibit 12
                                               Page 548
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              168 of32 of 127
                                                                     263   Page ID
                                   #:4787




      attorneys' hours to allocate. These 33 civil attorneys also averaged
      $64,139 in non-travel expenses, while attorneys who practiced in a
      criminal practice averaged $22,534. This also may reflect different
      billing practices between large, corporate law firms and smaller,
      criminal law firms.
 •    The federal courts in Caltfornia will generally allow an
      evidentiary hearing to be held at some point in the process.       This
      is not always true of judges in other federal districts or circuits.
      Based on attorney survey results, 83 percent of requests for
      evidentiary hearings in California are granted as opposed to 40
      percent of requests for evidentiary hearings in non-California
      cases. The high cost of evidentiary hearings in California (average
      $92,000 per case) contributes to the high total cost of California
      cases. This begs the question of why evidentiary hearings are
      typically allowed in California cases. Part of the explanation may
      be that the state post-conviction procedures in California rarely, if
      ever, allow for an evidentiary hearing at that stage. This puts
      pressure on federal judges to grant an evidentiary hearing to
      account for the lack of one during the state post-conviction
      proceedings. By contrast, the state post-conviction proceedings in
      Missouri will often include an evidentiary hearing, lessening the
      need for one at the federal level. However, according to the case
      study attorney from Texas, evidentiary hearings are rare in Texas at
      both the state and the federal level.
  •   Federal judges in California approve vouchers for higher
      amounts than judges in other states. PwC heard several examples
      where judges in other districts and circuits were surprised at the
       cost of cases on their docket, while the cost of these cases were
                                      V111-119                                N CEWATERip usECOOPER5


                                                 Exhibit 12
                                                 Page 549
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              169 of33 of 127
                                                                     263   Page ID
                                   #:4788




      lower than the cost of the average case in California. There is the
      possibility that approval of vouchers for high-cost cases sets
      expectations that may guide the attorney in his or her next case. As
      judges consistently approve vouchers for high-cost cases, attorneys
      for the petitioner—in their duty to provide adequate
      representation—request the resources required.
  • The significant difference between the average costs of experts in
      California and non-California eases suggests that judges in
      California approve the use of expert witnesses more often than
      those in non California states. As stated above, California cases
                   -




      employ more experts and incur more expenses for experts than
      non-California cases. The difference in the costs of experts may be
      due to a number of factors: the high cost of living in California, the
      process for evaluating mental health, and difficulty in finding local
      experts willing to provide services at the low rates provided by the
      courts.
  o   The absence of a rigorous state post-conviction process,
      combined with procedurally conscientious judges in the
      California district courts and the Ninth Circuit Court of Appeals,
      create a situation whereby the federal courts pick up costs that
      state courts would incur otherwise.    The suggestion from some
      attorneys is that the combination of a perfunctory state post-
      conviction process in California with a rigorous federal post-
      conviction process means that the federal courts are performing
      tasks, such as holding evidentiary hearings, that would normally be
      undertaken during state post-conviction proceedings. However, the
      costs of California cases are so much higher than they are in non-
      California cases (average difference of approximately $300,000)

                                                                            PRicEWATERHousECcoPERs



                                             Exhibit 12
                                             Page 550
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              170 of34 of 127
                                                                     263   Page ID
                                   #:4789




     that it does not appear to be the result of a simple cost-shifting
     (deliberate or not) process.


 Further understanding of the explanatory power of each of the above
 factors would require a more in-depth examination of how California
 attorneys spend their time and for what reason. This requires going
 beyond the data provided in the CJA Panel Attorney Payment
 database, but interviewing or surveying more attorneys with
 experience of practicing in California and other states to understand
 more how they spend their time. Given the affect of case-specific
 factors on costs, even this analysis would not necessarily provide an
  explanation of the costs of specific cases.




                                     V111-121                             PREEWATERHOUsECOD PERS El



                                                Exhibit 12
                                                Page 551
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              171 of35 of 127
                                                                     263   Page ID
                                   #:4790




                APPENDICES
                  A,B,&C




                                    Exhibit 12
                                    Page 552
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              172 of36 of 127
                                                                     263   Page ID
                                   #:4791




             APPENDIX A:
         REGRESSION ANALYSIS
            METHODOLOGY




                                    Exhibit 12
                                    Page 553
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              173 of37 of 127
                                                                     263   Page ID
                                   #:4792




 APPENDIX A: Regression Analysis Methodology


Overview of regression analysisl

 Regression analysis is a form of statistical analysis that shows how one
 variable—called the dependent variable—is related to one or more
  other variables—called independent variables. For example,
 regression analysis might be used to show that the number of votes
  cast for an incumbent president (the dependent variable) is the result of
  a number of other factors, such as indicators of the strength of the
  economy and dollars spent on the campaign (independent variables).
  Investment banks use regression analysis to try to predict how
  exchange rates are a function of other economic variables.


  To identify such relationships, regression analysis compares a large
  number of observations, or sets of dependent and independent
  variables, and then computes an equation that links them. Each
  observation must include one value for each independent variable and
  one value for the dependent variable. The number of votes cast for
  President Carter in 1979 and the inflation rate at the time of the
  election together constitute an example of a single observation for a
  regression analysis that relates the number of votes for an incumbent
  president with inflation rates. Generally, the more observations
  included in the comparison, the greater the confidence in the results.




   For a fuller discussion of regression analysis see Mansfield, Edwin, Statistics for Business and
Economics. 1991. W.W. Norton and Company: New York, pp. 457 to 467.

                                                A- 1                                         PRICEWATERHOUsECODPERS



                                                        Exhibit 12
                                                        Page 554
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              174 of38 of 127
                                                                     263   Page ID
                                   #:4793




 Regression analysis creates an equation that relates the variables being
 considered. For a regression analysis that only considers one
 independent variable, the equation is generally in the form of:


         Y = a + bX


 where "Y" represents the dependent variable, "X" represents the
 independent variable, and "a" and "b" represent constants that relate
 the independent variable to the dependent variable. For example, a
 hypothetical study using regression analysis to investigate the
 relationship between the number of years a person spends in higher
 education to a person's salary at the age of 40 might result in an
 equation:


       Y = $20,000 + $5,000 x X


 where "Y" represents the person's salary at the age of 40, "a" =
  $20,000, "b" = $5,000 and "X" represents the number of years that
 person spends in higher education. This equation would show that a
  person with four years of college would, on average, be earning
  $40,000 at the age of 40 ($20,000 + $5,000 x 4).


Goodness of Fit

  Of course, there are many factors besides the number of years spent in
  higher education that affect a person's salary. For this reason, the
  regression equation shows only a statistical relationship (the likely



                                      A-2                                 11210EWATERipusECODPERS M



                                            Exhibit 12
                                            Page 555
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              175 of39 of 127
                                                                     263   Page ID
                                   #:4794




 impact of education on salary), not a deterministic2 relationship (a
  guaranteed impact of education on salary). In the example above, the
  equation only represents what happens when all of these other factors
 that influence a person's salary are held constant (that is, if they gain
  another year of higher education but there are no other changes that
  would affect their salary).


  In reality these other factors are never constant. Gaining an additional
  year of higher education may lead to a person's salary increasing more
  or less than $5,000, depending on these other factors. Regression
  analysis includes the calculation of a number, known as "?" (r-
  squared), that tells the researcher how well the independent variable or
  variables—and only the independent variables—explain or predict the
  value of the dependent variable, ignoring the effect of these other
  variables. The value of the "?" is the percentage of variation in the
  dependent variable explained by the independent variables and is also
  known as the "goodness of fit."


  In the example above, the value of "r2" shows how much of the
  differences in peoples' salaries are explained by the number of years
  spent in higher education alone. Suppose the value of "r2" is 10
  percent. This means that 10 percent of a person's salary is explained
  by the number of years that person spent in higher education. This
  also means that 90 percent of a person's salary is explained by other
  factors. In this case, the 10 percent figure is low (the figure is probably
  higher in real life). If more independent variables are added (such as


= Mansfield, Edwin. 1991. Statistics for Business and Economics. W.W. Norton and Company:
New York, p. 460.
                                           A-3                                      PRICEWATERtpusECCoPERS 0



                                                   Exhibit 12
                                                   Page 556
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              176 of40 of 127
                                                                     263   Page ID
                                   #:4795




 IQ scores or scores on tests that measure a person's diligence), then the
 value of "r2" will increase. However, because the world is a very
  complicated place, with many factors influencing salaries, the value of
  "r2" would never reach 100 percent for this regression analysis.


 At the same time, there is no set "acceptable" level of "r 2" for
 regression analysis. The acceptable level depends on the specifics and
  complexity of the analysis being undertaken.


  Regression analysis is commonly used in many academic disciplines
  and in business to try to identify some of the causes of a dependent
 variable (for example, what causes the number of votes cast for an
  incumbent president, or what causes the unemployment rate).
  However, strictly speaking, regression analysis can only show
  statistical relationships between variables, not causal relationships.
  For this reason, it is important that a regression analysis be built on a
 theory as to why the variables being analyzed should be related. A
 theory as to how variables are related should be developed before the
 regression analysis begins. If the regression analysis shows a
  statistical relationship consistent with the theory, then causal
 relationships between the variables being analyzed are inferred,
  although not proven.


  The use of a theory is one way to avoid faulty conclusions. For
  example, regression analysis potentially could show that the rainfall in
  the state capital on a given day is statistically related to the
  unemployment rate in the state. However, without a theory that
  explains why these should be related—such as why years of higher
                                        A-4                                   PRICEWATERHOUSECOJPERS   (ti


                                               Exhibit 12
                                               Page 557
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              177 of41 of 127
                                                                     263   Page ID
                                   #:4796




  education should be related to a person's salary—the analysis is not
  very meaningful.



Statistical Significance

  Even if a theory is supported by the regression analysis, the possibility
  exists that the statistical relationship shown by the regression analysis
  happens just by chance. This might be so if the regression analysis is
 based on only a sample of all the total possible observations, which is
  often the case. For example, no statistician would be able to collect all
  possible observations of the number of years of higher education and
  that person's salary at the age of 40, for this would require collecting
  information on everyone in the U.S. population aged 40 and over.
  Researchers typically use a sample instead, and then draw conclusions
  about the population (that is, all possible observations) based on the
  results of the sample. The question becomes how does the researcher
  know that the regression results are not simply the result of a sample
  that is not representative of the population?


  There is one measure calculated by regression analysis typically used
  to measure the probability that the relationship shown by the
  regression analysis simply results from choosing a skewed sample.
  This is called the standard error. The standard error can be used to
  determine the likelihood that the value of "b" (from the equation
  above) is greater (or less, if the sign of "b" is negative) than zero, due
  to choosing a skewed or unrepresentative sample.




                                       A-5                                     PRICEWITERHOUSECCOPERS




                                              Exhibit 12
                                              Page 558
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              178 of42 of 127
                                                                     263   Page ID
                                   #:4797




 Statisticians will adopt an acceptable level of probability, prior to the
 regression, that the value of "b" is greater (or less) than zero due to an
 unrepresentative sample. For example, a statistician may create a rule
 that says any value of "b" where the chance of that value being greater
 than zero simply by the selection of an unrepresentative sample is
 greater than 95 percent shall be called a statistically significant value.
 This means that the statistician will accept a value as being statistically
 significant if the standard error shows that the chances of that value
 being greater than zero is 95 percent. The statistician can be confident
 that the probability of the value of "b" being greater than zero is 95
 percent (called the level of confidence). As with the acceptable level
 of "r2" there is no universally accepted level of probability. However,
 the convention is that the 95 percent level of confidence is used unless
 there is a reason to adopt a higher (or lower) level of confidence.



Model Building

  Once a level of confidence has been adopted, model building for the
 regression can begin. This involves selecting the most appropriate
  variables or factors to put into the equation, using an underlying theory
  (see the preceding discussion). Model building may entail trying out
  several different variables to see which group of variables provides the
  best fit, and shows an acceptable level of confidence. However, care
  must be taken to avoid simply selecting the variables that provide the
  best fit without developing any underlying theory to explain why those
  variables are appropriate.



                                       A-6                                    PRICEWATERHOUSECCOPERS




                                             Exhibit 12
                                             Page 559
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              179 of43 of 127
                                                                     263   Page ID
                                   #:4798




 Once the model is built with appropriate variables, various tests can be
 performed—such as the statistical significance test—to ensure that the
 methodology and the results are valid. Discussions of these tests can
 be found in standard statistical textbooks.




                                      A-7                                PRICEWATERF .IOUSECCOPER5 0




                                               Exhibit 12
                                               Page 560
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              180 of44 of 127
                                                                     263   Page ID
                                   #:4799




            APPENDIX B:
         FEDERAL CAPITAL
      HABEAS CORPUS SURVEY
       FOR PANEL ATTORNEYS




                                    Exhibit 12
                                    Page 561
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC      Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              181 of45 of 127
                                                                     263   Page ID
                                   #:4800
           Federal Capital Habeas Corpus Survey for Panel Attorneys
                                     CONFIDENTIAL INFORMATION
If you are not a panel attorney or have not represented a federal capital habeas corpus petitioner, please
contact the Administrative Office of the US Courts representative, Elizabeth A. Brown, at (202) 273-1670
or the PricewaterhouseCoopers representative, Mindy Murch, at (703) 633-4619. Please return the
completed survey in the postage paid envelop or fax it to (703) 633-4300 by Friday, November 13, 1998.

  A. Attorney Background Information

 1. Total number of years practicing criminal law:
      0 Less than 1 year                         O 8 to 10 years
      O 1 to 3 years                             O 11 to 15 years
      O 4 to 7 years                             O More than 15 years (specini)

2. Total number of years practicing in federal court:
      O Less than 1 year                         O 8 to 10 years
      O I to 3 years                             O More than 10 years (speciM
      O 4 to 7 years
3. Total number of years representing this petitioner in federal capital habeas corpus proceedings:
      O Less than 1 year                          0 8 to 10 years
      O 1 to 3 years                              0 More than 10 years (speci6))
      O 4 to 7 years

4. Have you previously provided representation in: (Please enter number of cases .)

    Federal capital habeas corpus                           Capital trial
    Direct appeal of a death sentence                       Trial of a non-capital homicide
    State capital post-conviction                           Trial of a felony
    Direct appeal of non-capital homicide                   Non-capital federal habeas corpus
    Direct appeal of a felony                               Other trial

5. Approximate number of hours spent in training programs on federal capital habeas corpus litigation
    (prior to this case)?
       O 0 to 10 hours        0 31 to 40 hours
       O 11 to 20 hours       0 More than 40 hours
       O 21 to 30 hours

 6. Did the court provide you with access to computer-assisted legal research? 0 Yes                  0 No

 7. Was co-counsel appointed to this case?        O Yes           0 No


   B. Profile of Petitioner

 1. Age of Petitioner at the Time of the Crime:
      O Under 20 years of age                   O Between 40 and 49 years of age
      O Between 20 and 29 years of age          O 50 years of age or older
      O Between 30 and 39 years of age



                                                   Page I
                                              Exhibit 12
                                              Page 562
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC      Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              182 of46 of 127
                                                                     263   Page ID
                                   #:4801
          Federal Capital Habeas Corpus Survey for Panel Attorneys
                                    CONFIDENTIAL INFORMATION

2. Gender of Petitioner:         0 Male           0 Female

3. Race of Petitioner:
     O American Indian or Alaska Native                     0 Black or African American
     O Native Hawaiian or Other Pacific Islander            0 Asian
     O White

4. Citizenship of Petitioner:    0 U.S.           0 Other

5. Does petitioner suffer from mental illness, mental retardation, or other infirmity?
   0 Yes              0 No

    If yes, did the mental illness, mental retardation, or other infirmity make the representation
    more costly?        0 Yes           0 No

6. Did you require the use of a translator to communicate with the petitioner?
     0 Yes              0 No

7. Did the petitioner have previous criminal convictions when he was arrested for the crime tried at the
   state level?
      O Yes             0 No

8. Were these convictions in another state?
     O Yes             0 No


C. information on State Court Proceedings

1. Was this a felony-murder case?         0 Yes             0 No

    If yes, what was the underlying felony? (Please mark all that apply.)
            O Robbery            0 Arson
            O Burglary           0 Torture
            O Rape               0 Other (specifii)
            O Kidnapping

2. Aggravating factors presented by the Prosecution: (Please mark all that apply.)

       Aggravating Factors                                               Please
                                                                        mark here
        a. Prior criminal conviction(s)                                    0
           If marked, please circle number of crimes
           1 2 3 4 5 6 7 8 9 10 or more
        b. Unadjudicated prior bad acts                                      0
           If marked, please circle number of acts
           1 2 3 4 5 6 7 8 9 10 or more
        c. Multiple murder                                                   0
        d. Murder committed during the course of a felony                    0



                                                   Page 2
                                               Exhibit 12
                                               Page 563
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              183 of47 of 127
                                                                     263   Page ID
                                   #:4802
              Federal Capital Habeas Corpus Survey for Panel Attorneys
                                      CONFIDENTIAL INFORMATION

       Aggravating Factors                                            Please
                                                                     mark here
        e.   Murder was "heinous," "depraved," "cruel," etc.             0
        f.   Murder committed by lying-in-wait                           0
        g.   Murder committed for financial gain                         0
        h.   Murder for hire                                             0
        i.   Murder committed to avoid arrest                            0
       j.    Torture of victim                                           0

       k. Vulnerable victim                                               0
        . Public official victim                                          0
       m. Future dangerousness                                            0
       n. Defendant's lack of remorse                                     0
       o. Defendant's age                                                 0

  3. Mitigating factors presented by the Defense: (Please mark all that apply.)

       Mitigating Factors                                             Please
                                                                     mark here
        a. Absence of criminal history                                    0
       b. Remorse                                                         0
       c. Abuse suffered as a child                                       0
       d. Youth                                                           0
        e. Mental retardation                                             0
        f. Medical problems                                               0
        g. Mental illness or defect                                       0
       h. Emotional disturbance                                           0
        i. Post-traumatic stress syndrome                                 0
       j. Fetal alcohol syndrome                                          0
        k. Addiction/substance abuse or intoxication                      0
        I. Adjustment to prison                                           0
        m. Cooperation with police/prosecution                            0
                                                                                  _
        n. Cultural background                                            0
        o. Potential for rehabilitation                                   0
        p. Disparate sentencing of co-defendants                          0
        q. Lingering doubt of defendant's guilt                           0
        r. Dysfunctional family                                           0
        s. Institutional failure                                          0
        t. Poverty                                                        0
        u. Military service                                               0
        v. Positive relationship with family and friends                  0
        w. Tolerance of life sentence by family of victim                 0
        x. Other positive acts/attributes of defendant                    0




                                               Exhibit 12
                                               Page 564
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              184 of48 of 127
                                                                     263   Page ID
                                   #:4803
                Federal Capital Habeas Corpus Survey for Panel Attorneys
                                        CONFIDENTIAL INFORMATION


  4. How many charges were there in addition to the murder charge?
       O 0            02              04               0 6 or more
       O 1            03              05


  5. Number of Co-Defendants:
      O 1             02                     03                 04               0 5           0 6 or more

  6. Number of Murdered Victims:
      O 1             04                     O7                 O 10 or more
      O 2             05                     O8
      O 3             06                     O9

  7. Number of Other Victims:
      O 0             O3                     O6                 O 9
      O 1             O 4                    O7                 O 10 or more
      O 2             O5                     O8

  8. How many months did the trial last? (From appointment of counsel to handing down of sentence.)
     Months

  9. Did the investigation require travel to other states?               0 Yes          0 No

        If yes, how many states?

     10. Did the investigation require travel to another country?        0 Yes          0 No

       if yes, how many countries?

  11. Was a translator used to communicate with the petitioner during the trial?
      O Yes              0 No

     12. What was the level of media exposure or interest in the case?
         O Low             0 Medium                 0 High

13. Did the following factors affect the costs associated with the case? If yes, did they increase or
decrease costs?

Factors                                                             Yes No       Increase   Decrease
a.     Local community attitudes toward the original crime.          0    0         0          0
b.     Local community attitudes toward the death penalty.           0    0         0          0
c.     Attitude of the state judge toward the original crime.        0    0         0          0
d.     Attitude of the state judge toward the death penalty.         0    0         0          0

 e. Attitude of the prosecutor's office toward the original          0    0         0          0
    crime.
 f. Attitude of the prosecutor's office toward the death             0    0         0          0
    penalty.
 g. Experience of the prosecutors assigned to the case.              0    0         0          0



                                                       Page 4
                                                  Exhibit 12
                                                  Page 565
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC       Document
                        Document      28-9
                                  109-3  FiledFiled 09/26/14
                                               06/09/14   Page Page
                                                               185 of49 of 127
                                                                      263   Page ID
                                    #:4804
            Federal Capital Habeas Corpus Survey for Panel Attorneys
                                            CONFIDENTIAL INFORMATION
   14. Overall, to what extent did the judge deny or reduce defense requests for the following during the
       state trial?

 Requests                                          Denied        Sharply Minimally          Did Not      N/A
                                                                 Reduced Reduced            Reduce
 a. Requests for experts                              0              0           0            0              0
 b. Requests for discovery                            0              0           0            0              0
 c. Requests for investigation                        0              0           0            0              0
 d. Requests for travel                               0      _       0           0            0              0



  D. State Trial Attorneys

   I. In your state, are defense attorneys for state capital trials chosen by a set of criteria?
     0 Yes         0 No
     If yes, please list the criteria:

        a.
        b.
        e.
        d.
        e.
        f.
        g.
        h.



  2. Had the lead counsel at trial previously represented a client in: (Please enter number of cases.)

        Direct appeal of a death sentence                            State trial of a non-capital homicide
        State capital post-conviction                                State trial of a felony
        Direct appeal of non-capital homicide                        Non-capital federal habeas corpus
        Direct appeal of a felony                                    Other trial
        State capital trial                                          Unknown

   3.        What was the hourly rate of compensation for lead counsel at trial?
                Pro Bono                      0 Between $60 and $79
                Less than $20                 0 Between $80 and $99
                Between $20 and $39           0 $100 or more
                Between $40 and $59

   4.        Did the state trial judge deny or reduce defense requests for attorney fees?
             0 Denied             0 Sharply Reduced 0 Minimally Reduced                       0 Did Not Reduce


   5. Did or do you represent the federal capital habeas corpus petitioner in the state trial?

               0 Yes            0 No


                                                            Page 5
                                                     Exhibit 12
                                                     Page 566
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              186 of50 of 127
                                                                     263   Page ID
                                   #:4805
                 Federal Capital Habeas Corpus Survey for Panel Attorneys
                                          CONFIDENTIAL INFORMATION


  6. Was co-counsel appointed to this case at the state trial level?              0 Yes           0 No


 E. Information on State Post-Conviction Proceedings


 1. How many state post-conviction proceedings have there been in this case?
           O 1               02                03                  0 4            0 5 or more

 2. Where were the state post-conviction proceedings originally filed?
        O Trial Court            0 Appellate Court

 3.    How many months did the state post-conviction proceedings last? (If more than one proceeding,
       please provide total months.)      Months

 4.    Was additional investigation undertaken for the state post-conviction proceedings?
          O Yes            0 No

 5.    If yes, did the investigation require travel to other states?      0 Yes           0 No
       How many states?

       To other countries?                                                0 Yes           0 No
       How many countries?

 6. What was the level of media exposure or interest in the state post-conviction proceedings?
       O Low            0 Medium                 0 High

 7. Did the state provide funding for state post-conviction representation?               0 Yes          0 No

 8. To what extent did the judge deny or reduce defense requests for the following during the state post-
    conviction?

 Requests                                          Denied              Sharply      Minimally       Did Not
                                                                       Reduced      Reduced         Reduce
 a. Requests for experts                              0                  0                0              0
 b. Requests for discovery                            0                  0                0              0
 c. Requests for evidentiary hearings                 0                  0                0              0
 d. Requests for investigations                       0                  0                0              0
 e. Requests for travel                               0                  0                0              0




      F. State Post-Conviction Attorneys

 I . Was there continuity of counsel from the state trial to the state post-conviction process?
       0 Yes                 0 No




                                                          Page 6
                                                    Exhibit 12
                                                    Page 567
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              187 of51 of 127
                                                                     263   Page ID
                                   #:4806
              Federal Capital Habeas Corpus Survey for Panel Attorneys
                                       CONFIDENTIAL INFORMATION


 2. In your state, are defense attorneys for state post-conviction proceedings chosen by a set of criteria?
      0 Yes         0 No
      If yes, please list the criteria:

     a.
     b.
     c.
     d.
     e.
     f.
     g.
     h.


 3. Had the lead counsel in the state post-conviction proceeding previously represented a client in:
     (Please enter number of cases.)

     Federal capital habeas corpus                            State capital trial
     Non-capital federal habeas corpus                        State trial of a non-capital homicide
     Direct appeal of a death sentence                        State trial of a felony
     State capital post-conviction                            Other trial
     Direct appeal of non-capital homicide                    Unknown
     Direct appeal of a felony


4. What was the hourly rate of compensation for lead counsel for the state post-conviction proceeding?
      O Pro Bono                       0 Between $60 and $79
     O Less than $20                   0 Between $80 and $99
      O Between $20 and $39            0 $100 or more
      O Between $40 and $59

5. Did the state post-conviction judge deny or reduce defense requests for attorney fees?
       O Denied          0 Sharply Reduced        0 Minimally Reduced             0 Did Not Reduce

6. Did or do you represent the federal capital habeas corpus petitioner in the state post-conviction
    proceedings?                 0 Yes            0 No


  G. Information on Federal Capital Habeas Corpus Case

 1. How many months were there between the entry of the death sentence in state court and the
    commencement of federal proceedings?              Months

 2. How many months from the conclusion of the first state post-conviction proceeding to the
    commencement of federal proceedings?                Months




                                                     Page 7
                                                Exhibit 12
                                                Page 568
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC      Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              188 of52 of 127
                                                                     263   Page ID
                                   #:4807
           Federal Capital Habeas Corpus Survey for Panel Attorneys
                                       CONFIDENTIAL INFORMATION

3. Was the case ever pending at the federal level while it was simultaneously in state court for
    exhaustion proceedings?
      O Yes             0 No

       If yes, for how long?      Months

4. Number of Habeas claims:
     O 1              0 6 to 10                    021 to 30                   0 More than 40 (speciM
     O 2 to 5         0 11 to 20                   031 to 40

5. Claim(s) on which Habeas was sought (Please mark all that apply.):

    Actual innocence                                        o      Ineffective appellate counsel        o
    Ineffective assistance of counsel in guilt phase        o      Jury misconduct                      o
    Ineffective assistance of counsel at sentencing         o      Jury selection                       o
    Prosecutorial misconduct                                o      Other                                o
    Newly discovered evidence                               o

6. What is the current case status ?       0 Open               0 Closed

7. If open, current stage:
      0 Pre-Petition                                            0 Pending Hearing or Dispositive Motion
      0 On Appeal of Grant or Denial of Relief                  0 On Certiorari

8. If closed, method of disposition:
      0 Habeas Granted           0 Habeas Denied                0 Government Dismissed

9. Did the state set an execution date? 0 Yes      0 No

    If yes, did the execution date affect the cost of the federal capital habeas corpus process?
    0 Yes 0 No

10. How many months did it take to complete the stages listed below? (Please enter number where
    applicable.)

    Stage                      Months Stage                                                        Months
    Habeas petition                       Petition for Supreme Court Writ of Certiorari
    Evidentiary hearing                 Stay of execution
    Di spositive motions                Appeal of denial of stay
    Appeal                              Petition for Writ of Certiorari to Supreme Court
                                          regarding denial of stay
     Other

 11. How long was the trial record?
       O 0 to 500 pages                    O 30,001 to 50,000 pages
       O 501 to 1,000 pages                O 50,001 to 75,000 pages
       O 1,001 to 10,000 pages             O More than 75,000 pages
       O 10,001 to 30,000 pages




                                                       Page 8
                                                Exhibit 12
                                                Page 569
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              189 of53 of 127
                                                                     263   Page ID
                                   #:4808

               Federal Capital Habeas Corpus Survey for Panel Attorneys
                                        CONFIDENTIAL INFORMATION

 12. How many pages were the trial counsel files?
       O 0 to 500 pages                 0 30,001 to 50,000 pages
       O 501 to 1,000 pages             0 50,001 to 75,000 pages
       O 1,001 to 10,000 pages          0 More than 75,000 pages
       O 10,001 to 30,000 pages


 13. How many pages were the appellate counsel files?
       O 0 to 500 pages                0 30,001 to 50,000 pages
       O 501 to 1,000 pages            0 50,001 to 75,000 pages
       O 1,001 to 10,000 pages         0 More than 75,000 pages
       O 10,001 to 30,000 pages

 14. Did you request an evidentiary hearing?       0 Yes              0 No

 15. Were you granted an evidentiary hearing? 0 Yes                   0 No

 16. Was the case decided by the grant or denial of a dispositive motion? 0 Yes              0 No

 17. Was an interlocutory appeal taken to the Circuit Court of Appeals? 0 Yes                0 No

 18. Was the case reversed on appeal?              0 Yes              0 No

      If yes, was the case remanded to the District Court?            0 Yes          0 No

 19. What was the level of media exposure or interest in the case?
     0 Low               0 Medium 0 High

 20. What were major contributors to costs? Please rate the following with respect to their effect on total
     case costs.

                                                 High       Moderate       Little        No          Not
                                              Contribution Contribution Contribution Contribution_ Applicable _
 a.   Complex defendant personal                   0              0              0              0             0
      background
 b.   Large number of capital charges or           0              0              0              0             0
      aggravating circumstances
 c.   Competency of state trial counsel            0              0              0              0             0
 d.   Competency of state post-conviction          0              0              0              0             0
       counsel
 e.   Incomplete factual development in            0              0              0              0             0
       state court
 f.   Large number of habeas claims                0              0              0              0             0

 g. Number of pages of trial record                0              0              0              0             0

 h. Number of pages of trial counsel files         0              0              0              0             0

 i.   Number of pages of appellate                 0              0              0              0             0
      counsel files
 j.   Difficulty in locating state records         0              0              0              0             0




                                                       Page 9
                                                Exhibit 12
                                                Page 570
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC      Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              190 of54 of 127
                                                                     263   Page ID
                                   #:4809
           Federal Capital Habeas Corpus Survey for Panel Attorneys
                                       CONFIDENTIAL INFORMATION
                                                High       Moderate       Little        No                     Not
                                             Contribution Contribution Contribution Contribution             Applicable
 k. Large number of expert witnesses               0              0              0              0                0
    required
 1. Geographically dispersed evidence              0              0              0              0                0
    and witnesses
 m. Number of motions                              0              0              0              0                0

 n. Significant legal research to support          0              0              0              0                0
    motions
 o. Court evidentiary hearings                     0              0              0              0                0


 p. Expedited briefing required because            0              0              0              0                0
    of execution date or other limitations
 q. Need for translators                           0              0              0              0                0

 r. Aggressiveness of the Attorney
    General
 s. Other                                          0              0              0              0                0



 21. Were or are there any state specific statutes or laws which have increased or decreased costs in this
     case?                  0 Yes           0 No
     If yes, please list them below:

      Increased



      Decreased




 22. Were there any state specific clemency laws which have increased or decreased costs in this case?
          0 Yes             0 No
     If yes, please list them below:

      Increased



      Decreased




                                                    Page 10
                                                Exhibit 12
                                                Page 571
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              191 of55 of 127
                                                                     263   Page ID
                                   #:4810

               Federal Capital Habeas Corpus Survey for Panel Attorneys
                                        CONFIDENTIAL INFORMATION
 23. Did any of the following factors affect the cost of the federal capital habeas corpus case? If yes, did
     they increase or decrease costs?

 Factors                                                          Yes   No       Increase       Decrease
 a.   Local community attitudes toward the original crime.        0     0           0              0
      Local community attitudes toward the death penalty.         0     0           0              0
 b.
 c.   Attitude of the judge toward the original crime.            0     0           0              0
 d.   Attitude of the judge toward the death penalty.             0     0           0              0

 e.   Attitude of the Office of the Attorney General toward        0    0           0              0
      the original crime.
 f.   Attitude of the Office of the Attorney General toward        0    0           0              0
      the death penalty.

 24. Overall, to what extent did the federal judge deny or reduce defense requests for the following during
     the federal capital habeas corpus process?

 Requests                                    Denied      Sharply Minimally Did Not                     N/A
                                                         Reduced Reduced Reduce
 a. Requests for experts                         0            0              0              0              0
 b. Requests for evidentiary hearings            0            0              0              0              0
 c. Requests for attorney fees                   0            0              0              0              0

 25. Did you employ any of the following techniques as a means of lowering case costs?

 Conduct independent or unilateral case budgeting                   O Yes               O No
 Conduct case budgeting with judicial oversight                     O Yes               O No
 Employ paralegals                                                  O Yes               O No
 Consult with expert counsel                                        O Yes               O No
 Other                                                              O Yes               O No

      If you did consult with expert counsel, was counsel associated with:
            O The Federal Habeas Assistance and Training Counsel Project
            O A Federal Defender Organization
            O A State or Local Defender Organization
            O Other

 26. Overall, did you lose money as a result of representing this petitioner?
          O Yes              0 No


  Thank you for completing the survey. Please return the completed survey in the postage paid envelop or
 fax it to (703) 633-4300 by Friday, November 13, 1998.




                                                Exhibit
                                                    Page12
                                                         11
                                                Page 572
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              192 of56 of 127
                                                                     263   Page ID
                                   #:4811




                        APPENDIX C:
                        CASE STUDY
                         PROFILES




                                    Exhibit 12
                                    Page 573
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              193 of57 of 127
                                                                     263   Page ID
                                   #:4812




Appendix C: Case Study Profiles

 The case study section describes in detail the proceedings of 7 cases
 from 6 different states: California, Texas, Alabama, Illinois,
 Pennsylvania, and Missouri. The table below, which summarizes state-
 and case-specific information, provides two sets of data. The first half
 of the table details state-specific cost and procedural information. The
 second half of the table describes case-specific information for each
 case study conducted.




                                            Exhibit 12
                                            Page 574
          Case Case 3:11-cv-04454-SI
               2:09-cv-02158-CJC     Document
                                  Document     28-9
                                           109-3  FiledFiled 09/26/14
                                                        06/09/14   Page Page
                                                                        194 of58 of 127
                                                                               263   Page ID
                                             #:4813




              Table C-1: Breakdown of Costs and Cost Factors by Selected State
                                               A Regional Comparison of Cost Factors
                                                  in the States of the Case Profilest
State                        California            Missouri              Texas          Pennsylvania    Alabama      Illinois

                               Ninth                Eighth               Fifth          Third Circuit   Eleventh     Seventh
Circuit                        Circuit              Circuit             Circuit                          Circuit     Circuit

Average/Median Cost              High              Medium-               Low              Medium        Medium-      Medium
                                                    High                                                 Low
Average Total Case            $324,176             $74,975              $35,092           $66,418       $57,480      $67,163
Cost by State
Median Case Cost by           $266,105             $65,959              $24,289           $42,464        $30,401     $64,459
State
Average In-Court               $ 5,006              $ 725                $ 350             $ 1,339           $ 257   $ 1,681
Attorney Costs
Average Out-of-Court          $ 292,815            $ 90,832            $ 40,880           $ 57,096      $ 53,900     $ 61,348
Attorney Costs
Average Expert Costs           $49,462              $3,714              $1,907             $2,756             —       $843
Standards of
Qualification to
Represent Indigent               Yes                  No                  No                 No              Yes       No
Defendants in a
Capital Case
                             First Degree
Number of Capital            Murder with               I                   8                 18               18        15
Offenses Prosecutable           special
by State                    circurnstances 2




           The above data and information were extracted from the following sources: the CJA Payment
          System, The Bureau of Justice Statistics, Federal Capital Habeas Corpus Attorney Case Profiles,
          and an article by Stephen Bright of Emory University Law School and the Southern Center for
          Human Rights.

          2According to the California Attorneys in the Case Profile, there are over 300 offenses that can
          make a defendant eligible for the death penalty.

                                                              C-2



                                                                       Exhibit 12
                                                                       Page 575
          Case Case 3:11-cv-04454-SI
               2:09-cv-02158-CJC     Document
                                  Document     28-9
                                           109-3  FiledFiled 09/26/14
                                                        06/09/14   Page Page
                                                                        195 of59 of 127
                                                                               263   Page ID
                                             #:4814




               Table C-2: Breakdown of Costs and Cost Factors by Profiled Case
                                                   Specific Case Profile Comparisord
Petitioner Name                  Petitioners        Petitioner         Petitioner      Petitioner   Petitioner   Petitioner
                                 # 1&#2                #3                 #4              #5           #6           #7
Total Case Costs               # 1: $670,782        $112,822            $48,777         $53,180      $59,267      $65,654
                               #2: $386,306
Total In-Court                  #1: $30,710          $250                $88             $925         $450         $790
Attorney Costs                  #2: $10,218
Total Out-of-Court             #1:5526,343          $107,291           $46,813         $50,550      $57,825      $64,761
Attorney Costs                  #2: $307,459
Total Expert Costs               #1: $3,468          $1,690              $0               $0           SO           $0
                               #2: $52,168

Attorney General
Litigated Exhaustion              # 1: Yes            No                 No              yes4          No           Yes
Requirement and                    #2: No
Waives Procedural
Default
District Evidentiary            Granted (in          Denied            Denied           Denied       Denied       Denied
Hearing                         Both Cases)
State Post-Conviction           No (in Both          Under            Sometimes         Usually     Sometimes     Usually
Evidentiary Hearing               Cases)             Time              Granted          Granted      Granted      Granted
                                                     Limits
                                                     Only
Attorney Utilized
Resources Outside of            Yes (in Both          Yes                Yes              Yes          Yes          Yes
CIA Compensation                  Cases)

Court Cut This
Attorney's Expenses/                No                Yes                No               No           No           No
Vouchers       ..... .


               Following is a summary of each case and the factors contributing to
               costs.




           3   See Appendix C for the Case Profile Analysis.

            Federal Habeas Attorney # 4 stated that only in Philadelphia are exhaustion requirements
           waived. Also, Pennsylvania has a unique state criminal prosecution system, guided by local
           District Attorneys, rather than by a centralized Attorney General's Office.


                                                               C-3



                                                                     Exhibit 12
                                                                     Page 576
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              196 of60 of 127
                                                                     263   Page ID
                                   #:4815




Case Profile # I

                          Table C-3: Profile for Petitioner # 1
 Petitioner Name                                     Petitioner #1
                                   Case Background
 Circuit, State, and District                         Ninth Circuit, California, Northern
 Number of Original Charges                                            3
 Number of Murdered Victims                                            2
 Crime Description                                        Double Homicide/Robbery
 Case Disposition                                                Open: Active
 Number of Habeas Claims in Petition                                 11-20
 Most Recent Stage of Proceeding                     Application to United States Supreme
                                                         Court for Writ of Certiorari

                        Amount of Time and Money Spent
 Breakdown of Attorney Hours                           Number of Hours
 Attorney 1n-Court Hours                                              230
 Attorney Out-of-Court Hours                                         4,209
 Total Attorney Hours                                                4,439
 Breakdown of Attorney Fees                               Amount of Money Spent
 Attorney In-Court                                                  $30,710
 Attorney Out-of-Court                                             $526,343
 Total Attorney Costs                                              $557,053
 Breakdown of All Fees by Stage                           Amount of Money Spent
 Habeas Petition                                                   $281,352
 Evidentiary Hearing (District and Circuit)                        $200,694
 Dispositive Motion                                                 $30,622
 Appeal                                                            $149,594
 Application to Supreme Court for Certiorari                         $8,520
 Total Case Costs                                         Amount of Money Spent
 Attorney, Expert and Expenses in District                         $492,130
 Attorney, Expert and Expense in Circuit                           $178,652
 Total Case Costs                                                  $670,782




Background to the Crime
  In the early 1980s, Petitioner # 1, a foreign national, moved to
  California only 18 months before his arrest. Petitioner # I was
  convicted and sentenced to death for a robbery in which two people
  were killed.



                                               C-4                                  PRia-WATERHousECcoPER5 0




                                                      Exhibit 12
                                                      Page 577
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              197 of61 of 127
                                                                     263   Page ID
                                   #:4816




The State Trial


  During the state trial, two public defenders represented Petitioner # 1.
  The public defenders office had two part-time investigators and four
  experts working on the case. Petitioner # 1 was the only person
  arrested for the crime, but the circumstances of the offense raised the
  possibility that someone else may have been involved. However, trial
  counsel did not pursue an accomplice defense. Rather, even though
  there was significant forensic proof that Petitioner # 1 was at the scene
  of the crime, his trial counsel argued that he was not there. The jury
  rejected Petitioner # 1 's alibi defense, and he was convicted of first-
  degree robbery murder.


  During the penalty phase, the prosecution used the fact that Petitioner
  # 1 had been convicted for a crime in his native land as an aggravating
  factor. During the penalty phase presentation, the defense neither
  challenged the validity of the foreign conviction, nor investigated for
  mitigating evidence in Petitioner # 1 's homeland. Even though
  Petitioner # I had only been in the United States for 18 months,
  defense counsel provided little mitigating evidence beyond witnesses
  who testified that Petitioner # 1 was a good person and a well-behaved
  prisoner.


The Direct Appeal


  In California, there is an automatic direct appeal to the State Supreme
  Court in death penalty cases. This case was one of the earliest death
  penalty appeals heard before the California Supreme Court. In

                                        C-5                                  PRICEWATERHOusECO3PERS 0



                                              Exhibit 12
                                              Page 578
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              198 of62 of 127
                                                                     263   Page ID
                                   #:4817




 Petitioner # l's case, the trial record was approximately 5,500 pages,
 the average size of a case tried in California at this time. The appeal
 raised issues regarding tapes of a conversation between Petitioner # 1
 and a friend. The California State Supreme Court denied the
 petitioner's appeal.



State Post-Conviction Proceedings


 During state post-conviction proceedings, a large corporate law firm
 was appointed to represent the petitioner. Counsel was provided
 $3,000 in seed money for investigation, but no additional funds were
 granted. Without holding an evidentiary hearing, the Court issued a
 summary decision in which it denied some of the habeas claims and
  simply did not rule on the others. The Court did not detail the reasons
 for its decision. The case profile attorneys from California stated that
 in California, the State Supreme Court does not typically provide a
 written opinion to clarify its position on the issues within a case.
 Therefore, when the case progresses to federal court, the district judge
 must first try to discern for himself or herself why the claims were
  denied at the state level and then must rule on the claims. This creates
  a longer review process. In contrast, attorneys from other states have
  stated that the highest court in their state often writes opinions that can
  easily be reviewed by the district courts.


Proceedings in the Federal District Court


  Petitioner # I's case moved to federal district court in 1988. State
  post-conviction counsel continued as representation on the case. In his
                                     C-6                               PRICEWATERHOUSECOOPER5




                                               Exhibit 12
                                               Page 579
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              199 of63 of 127
                                                                     263   Page ID
                                   #:4818




 petition, Petitioner # I claimed that had trial counsel investigated in his
 native country, he not only would have uncovered extensive mitigating
 evidence, but also that Petitioner # l's prior criminal conviction was
 inappropriately used as an aggravating factor. The California Resource
 Center (CAP) performed most of the investigation for the petition.
 The district court judge denied Petitioner # l's entire habeas petition
 without holding an evidentiary hearing.


 In his appeal to the Ninth Circuit Court of Appeals, one issue that
 demanded a large amount of time and money was the debate over
 whether the district court should have permitted an evidentiary hearing.
 In its decision, the Ninth Circuit Court of Appeals determined an
 evidentiary hearing was required and remanded the case to the district
 court for a hearing.


• The day the case returned to the district court, the judge ordered the
 evidentiary hearing to be held two weeks later. In preparation for the
 hearing, Federal Habeas Attorney # 1 traveled to the petitioner's native
  country (charging his firm, because he was not granted travel expenses
 by the federal district court judge). There, he interviewed the
 petitioner's family and reviewed the records relating to Petitioner # l's
  prior conviction.


  The evidentiary hearing consisted of many exhibits, even though
  counsel's motion for discovery was granted very late. Because this
  was one of the first federal capital habeas corpus cases to have an
  evidentiary hearing in California, a lot of novel issues were raised.
  About a dozen witnesses were called to the stand, including trial
                                       C-7                                 PRICEINATERHOUSECOOPERS



                                             Exhibit 12
                                             Page 580
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              200 of64 of 127
                                                                     263   Page ID
                                   #:4819




 counsel and some family members. The court approved travel
 expenses for members of Petitioner # l's family who were witnesses,
 leading to costly travel expenses. The examination of trial counsel
 lasted about 4 days instead of the usual one. In all, the evidentiary
 hearing lasted 2 weeks. After the evidentiary hearing was complete,
 Federal Habeas Attorney # 1 filed extensive post-trial briefings and
 requested further hearings on the ineffective assistance of counsel
 claim.


 Following the passage of the Antiterrorism and Effective Death
 Penalty Act (AEDPA) in April 1996, there was another round of
 briefings needed regarding the application of AEDPA to Petitioner #
  l's case. In the spring of 1996, Federal Habeas Attorney # 1 discussed
 the possibility of a settlement with the Attorney General. The
 Attorney General rejected the proposed settlement. Several months
 later, the district court entered a decision against the petitioner over the
 coirse of a 3-hour telephone conversation with the attorneys.



Proceedings in the Ninth Circuit Court of Appeals

  Before the heating was held, Petitioner # 1 's case returned to the Ninth
  Circuit Court of Appeals twice. According to a California attorney, the
  Ninth Circuit Court of Appeals differs from other circuits, because it
  grants the writ of Mandamus in about 80 percent of cases.' The writ of
  Mandamus effectively overturns the summary judgment and orders the



 PwC was not able to verify or disprove this claim.

                                                C-8                        PRICEVA TERfp UsECOJPER5



                                                      Exhibit 12
                                                      Page 581
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              201 of65 of 127
                                                                     263   Page ID
                                   #:4820




 district court to rule on specific matters. In this case, the writ stated
 that:
 I. Federal Habeas Attorney # I was entitled to expert witnesses; and
 2. When the district court judge cross-examined Petitioner # 1 on the
     witness stand, the petitioner was entitled to a Fifth Amendment
     defense.


 After the district hearing, Federal Habeas Attorney # 6 submitted a 35-
 volume record of the district court proceedings. At the beginning of
  1998, the appeal was denied. Later, the U.S. Supreme Court denied
 certiorari.


Factors Affecting the Amount of Time and Resources Expended


 Petitioner # I had three sets of attorneys—one at the trial, one at the
 direct appeal, and one at the federal habeas stage. When attorneys had
 to "reinvent the wheel" at each stage, costs inevitably increased.
 Regardless of costs, the appointment of new counsel is considered
  appropriate in many cases, especially when ineffective assistance of
  counsel at the trial or appellate level is one of the habeas corpus
  claims.


  The Attorney General's strategy may have also driven case costs.
  Attorneys suggested that in most other states, the Attorney General's
  Office wants the courts to decide claims expeditiously so that the death
  sentence can be implemented. According to the case profile attorneys
  from California, the California Attorney General's Office often takes
  action that prolongs the cases. This includes a refusal to waive

                                        C-9                                  PRICEVVATERNOLSECOOPERS   0


                                              Exhibit 12
                                              Page 582
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              202 of66 of 127
                                                                     263   Page ID
                                   #:4821




 exhaustion requirements, leading to extensive procedural litigation.
 The zealous litigation strategy adopted by the Office of the Attorney
 General may cause the case to travel between district and state courts,
 creating what has been coined a "bouncing effect." There is no
 anecdotal evidence that this occurs in other states.


 According to the case profile attorneys from California, one possible
 reason for the "bouncing effect" may be that a petitioner in federal
 court has a good chance of victory when the California district court
 rules on the merits of a case. This may have two consequences:
  1. Attorneys representing federal capital habeas corpus petitioners
     request funds or implement zealous litigation strategies, which
     does not occur in other states; and
 2. The California Attorney General's Office litigates most procedural
     issues and thus sidesteps the merits of the case. For example, the
      Office apparently. litigates the applicability of the AEDPA in all
      150 federal capital habeas corpus cases, rather than allowing there
     to be a test case and creating a precedent for all others.


  In California, as in several other states, the death penalty can be used
  as a way to gain political office. The case profile attorneys from
  California stated that many district attorneys are able to pursue the
  death penalty in almost every murder case, because the special
  circumstances of capital murder under California statute are extremely
  broad. Similarly, the case study attorney from Pennsylvania said that
  in Philadelphia the district attorney prosecutes the death penalty in
  almost every murder case in order to gain political recognition.


                                        C-10                                 PWCEWATERFOUSECCOPEISO




                                               Exhibit 12
                                               Page 583
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              203 of67 of 127
                                                                     263   Page ID
                                   #:4822




 A further issue in California is the lack of development of cases at the
  state appellate level. Now, there are 500 people on California's death
 row (increasing at a rate of about 40 a year). Sometimes, the most
 basic, such as whether the convicted crime merits the punishment is
 never confronted in state appellate court, possibly because of the State
  Supreme Court's attempt to shift costs to the federal level. The case
 profile attorneys from California claimed that if the state post-
  conviction process were more rigorous, many cases would be
  eliminated at the state, rather than at the federal level.


  The other integral part omitted from Petitioner # l's state post-
  conviction proceedings was an evidentiary hearing. According to the
  California case profile attorneys, only two California cases have
  included an evidentiary hearing since the Court's composition changed
  in early 1989. One possible reason why there may be so few
  evidentiary hearings is that the California Supreme Court is simply not
  financially equipped for such a large number of state post-conviction
  appeals. While California state post-conviction appeals are filed in the
  State Supreme Court, in many other states they are filed in an
  intermediate court, which has more time to decide on the procedural
  and material issues of a case. In these states, some cases may be
  filtered out during state post-conviction proceedings, thus leading to a
  relatively lighter workload for both the state supreme court and the
  federal courts.


  In addition to the aforementioned factors, the amount of investigation
  and the size of the record greatly increased the time spent exploring
  possible claims as well as conducting legal research. The novelty of
                                          C-11                              PRICEWATERHOUSECCOPER5




                                                 Exhibit 12
                                                 Page 584
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              204 of68 of 127
                                                                     263   Page ID
                                   #:4823




 the issues in this case also increased the amount of time spent litigating
 unique matters not typical in an average case. According to Frank
 Zirnring, professor at the University of California's Boalt Law School,
 the number of issues litigated per case in California is greater than in
 other states due to the lack of uniformity in the interpretation of
 various laws by the district, and even circuit courts.




                                       C-12                                 PRICEWATERHOUsECCOPER5 0



                                              Exhibit 12
                                              Page 585
     Case Case 3:11-cv-04454-SI
          2:09-cv-02158-CJC     Document
                             Document     28-9
                                      109-3  FiledFiled 09/26/14
                                                   06/09/14   Page Page
                                                                   205 of69 of 127
                                                                          263   Page ID
                                        #:4824




Case Profile #2

                                     Table C-4 : Profile for Petitioner #2

      Petitioner Name                                    Petitioner #2
                                        Case Background
      Circuit, State, and District                        Ninth Circuit, California, Northern
      Number of Original Charges                                           3
      Number of Murdered Victims                                           2
      Crime Description                                       Double Homicide/Robbery
      Case Disposition                                   Closed: Granted Habeas Petition (as to
                                                                        penalty)
      Number of Habeas Claims in Petition                                11-20
      Most Recent Stage of Proceeding                    Application to United States Supreme
                                                              Court for Writ of Certiorari

                             Amount of Time and Money Spent
      Breakdown of Attorney Hours                           Number of Hours
      Attorney In-Court Hours                                               58
      Attorney Out-of-Court Hours                                         2,170
      Total Attorney Hours                                                2,228
      Breakdown of Attorney Fees                               Amount of Money Spent
      Attorney In-Court Cost                                              $10,218
      Attorney Out-of-Court Cost                                         $307,459
      Total Attorney Costs                                               $317,677
      Breakdown of All Fees by Stage                           Amount of Money Spent
      Unknown Stage                                                      $335,770
      Habeas Petition Stage                                                  --
      Evidentiary Hearing Stage (District and Circuit)                       --
      Dispositive Motion                                                     --
      Appeal                                                              $21,821
      Application to Supreme Court for Certiorari                         $28,715
       Total Case Costs                                        Amount of Money Spent
       Attorney, Expert and Expense Costs in District                    $255,331
       Attorney, Expert and Expense Costs in Circuit                     $130,974
       Total Case Costs                                                  $386,306




     The State Trials

        Petitioner # 2 was tried in two cases simultaneously, both of which
        involved double homicides. In the first case, the petitioner was
        eventually sentenced to Life Without The Possibility Of Parole

                                                  C-13                                    PRICEWATERHOUSECCOPER5 Ea



                                                          Exhibit 12
                                                          Page 586
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              206 of70 of 127
                                                                     263   Page ID
                                   #:4825




 (LWOP). In the second case, he was sentenced to death. Although he
 had no prior criminal convictions, he had led a difficult life. His issues
 included:
  1. Drug and alcohol abuse;
 2. Problems holding a steady job;
 3. Constant transience; and
 4. Psychological problems.
 In back-to-back trials, Petitioner #2 was tried and found guilty of both
 sets of murders.


The Direct Appeal


  In the early 1980s, the California Supreme Court appointed Federal
  Habeas Attorney # 2 to file the automatic appeal in both of Petitioner #
  2's cases. Counsel did not have to file a state habeas petition along
  with a direct appeal; the documents could be filed sequentially. This
  changed in 1989, when a California law was enacted that required state
  habeas corpus proceedings to occur simultaneously with a direct
  appeal.


  In the midst of Petitioner # 2's direct appeal, the makeup of the
  California Supreme Court changed drastically. A few months later, the
  newly composed court affirmed one case; the other was reversed and
  remanded to the trial court. In that case, the trial court resentenced
  Petitioner #2 to LWOP.




                                       C-14                                PRICEWATE RtibusECCOPERS




                                              Exhibit 12
                                              Page 587
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              207 of71 of 127
                                                                     263   Page ID
                                   #:4826




State Post-Conviction Proceedings

 During state post-conviction proceedings of the affirmed case, Federal
 Habeas Attorney #2 received no funding for investigation, and
 Petitioner # 2's appeal was denied without either a hearing or a written
 opinion. Consequently, Federal Habeas Attorney #2 applied for
  certiorari to the U.S. Supreme Court, but as is typical, certiorari was
  denied.


Federal District Court Proceedings

  In the late 1980s, Federal Habeas Attorney # 2 filed a federal capital
  habeas corpus petition expanding on all the issues laid out in the state
  petition. The new petition consisted of the same core issues, but was
  more focused and refined. The case was assigned to a district judge
  who had not previously presided over a death penalty case. A week
  after the petition was filed and before the state responded, the judge
  denied relief in a two-page decision. Federal Habeas Attorney if 2
  appealed to the Ninth Circuit Court of Appeals.


  The Ninth Circuit found the district court's summary decision deficient
  and reversed the district court's decision. The Circuit Court of
  Appeals returned the case to district court and ordered the district court
  to require a written response from the Attorney General.
  Subsequently, the Attorney General filed a response, and Federal
  Habeas Attorney #2 filed a written reply, as well as a motion for an
  evidentiary hearing.



                                        C455                                 PR/CEWATERHOUsECCOPERS




                                               Exhibit 12
                                               Page 588
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              208 of72 of 127
                                                                     263   Page ID
                                   #:4827




 In support of the request for an evidentiary hearing, Federal Habeas
 Attorney #2 amassed key information to support a claim of ineffective
 assistance of counsel, including signed affidavits by trial counsel
 admitting a failure to accumulate information on the petitioner's
 childhood, family background, and mental history. Federal Habeas
 Attorney # 2 billed the court for very little of the investigative costs, as
 CAP performed most of the work to support the ineffective assistance
 of counsel claim. The district court eliminated many claims because of
 an insufficient amount of merit-based evidence and denied the federal
 habeas petition.


Proceedings in the Ninth Circuit Court of Appears


 The Ninth Circuit Court of Appeals reversed the district court's
 decision, holding that a hearing was required on the ineffective
 assistance of counsel claim. In its decision, the Court criticized the
 Attorney General for not conceding that an evidentiary hearing was
 required.


 The presiding district judge passed away. A newly assigned judge
 required 6 months before the commencement of briefings to read the
  court record. After reviewing the record of a 6-day-long evidentiary
  hearing, the successor judge determined that trial counsel had been
  ineffective at the penalty phase, but not at the guilt phase. Both
  Petitioner # 2 and the state appealed. The Circuit denied both appeals,
  and the case was sent back to the trial court for re-sentencing. The
  Attorney General appealed to the U.S. Supreme Court, but certiorari


                                        C-I6                                PRiCEWATERNOUSECOOPER5 0



                                               Exhibit 12
                                               Page 589
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              209 of73 of 127
                                                                     263   Page ID
                                   #:4828




 was denied. The trial court eventually re-sentenced Petitioner # 2 to
 LWOP.

Factors Affecting the Amount of Time and Resources Expended


 When attorney fees reached $60,000 at the district level, the presiding
 judge tried to stop the attorney from billing more hours. The attorney
 argued, and the judge eventually conceded, allowing him to continue
 charging time. In other states, attorneys stated that judges often cut
 their vouchers without debate.


 Federal Habeas Attorney #2 cut his own time on the vouchers by
  about 15 percent, but except for a disagreement with one judge, did not
 have any problems being reimbursed. The attorney stated that
  vouchers are now scrutinized much more closely. Apparently,
  legislators exert pressure on judges to reduce costs, and as a result,
 judges press federal capital habeas attorneys to reduce costs. In this
  particular case, Federal Habeas # 2 believed that actions taken by the
  Attorney General did not increase costs except for the postponement of
  the evidentiary hearings.


  The two primary factors driving costs in this case included:
  1. Three appeals to the Circuit Court of Appeals; and
  2. High expert costs: there was one psychologist and one psychiatrist,
      both from the East Coast.
  The experts were brought in from the East Coast, because apparently,
  the pool of California experts who work in these types of cases is
  small. One expert was used for the guilt phase claim and the other for

                                        C-17                               PRICEWATERHOUsECODPERS




                                               Exhibit 12
                                               Page 590
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              210 of74 of 127
                                                                     263   Page ID
                                   #:4829




 the sentencing phase claim. Before the hearing, Federal Habeas
 Attorney #2 devoted substantial time to reviewing and refining both
 the two experts' and the two trial lawyers' testimony.
 Federal Habeas Attorney # 2 commented that certain factors typical of
 California affected this case's costs:
 1. There was no state evidentiary hearing; as in most California cases,
     most work was not completed at the state, but at the federal level.
     Federal hearings are more costly, mainly because they happen at a
     much later date and are more costly to investigate, because of
     changes that occur in:
     • The law;
     • The participants; and
     • The case itself;
 2. The size of records in all California cases, but especially in this
     case, was extraordinarily low due to the number of hearings and
     trials. The evidentiary hearing itself lasted 6 days, requiring about
     12 hours of work each day and about 200 hours of preparation;
 3. Cost of living expenses are higher in California than in other states,
     making costs difficult to compare;
 4. The State Supreme Court denies state habeas petitions without
     explaining the reasons for its decisions. This does not happen in
     any other state. This means that not only are more cases in federal
     court, but also, the judges in the district courts must spend more
     time trying to interpret rulings at the state level; and
  5. Ineffective state trial counsel was one of the claims.


  Federal Habeas Attorney #2 stated that, in contrast to popular
  perception, many California judges who grant habeas claims are not
                                          C-18                             PUCEVVATE Rti OUSECOOPER5



                                                 Exhibit 12
                                                 Page 591
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              211 of75 of 127
                                                                     263   Page ID
                                   #:4830




 liberal, especially in the Northern and Central districts. Independent of
 political persuasion, many judges become frustrated when cases reach
 their chambers that do not appear to warrant a death sentence.


 One factor that might have decreased costs in this case is that one
 attorney continued as counsel from the state post-conviction
 proceedings to the federal level. Continuity of counsel most likely
 decreases costs, because the initial research does not need to be
 repeated, as the attorney probably knows the strengths and weaknesses
 of the issues as the case progresses.




                                         C-19                           PR10EWATERHOUSECODPER5 0



                                                Exhibit 12
                                                Page 592
     Case Case 3:11-cv-04454-SI
          2:09-cv-02158-CJC     Document
                             Document     28-9
                                      109-3  FiledFiled 09/26/14
                                                   06/09/14   Page Page
                                                                   212 of76 of 127
                                                                          263   Page ID
                                        #:4831




Case Profile #3

                                Table C-5: Profile for Petitioner # 3
        Petitioner Name                                   Petitioner #3
                                          Case Background
        Circuit, State, and District                         Eighth Circuit, Missouri, West
        Number of Original Charges                                          4
        Number of Murdered Victims                                           2
        Crime Description                                       Double homicide, robbery
        Case Disposition                                  Closed: death sentence re-sentenced to
                                                                   LWOP at trial court
        Number of Habeas Claims in Petition                           More than 60
        Most Recent Stage of Proceeding                   Granted Relief by Eighth Circuit Court
                                                                        of Appeal

                                   Amount of Time and Money Spent
         Attorney Hours                                 Number of Hours
        Attorney In-Court Hours                                             2
        Attorney Out-of-Court Hours                                        603
        Total Attorney Hours                                               605
         Breakdown of Attorney Fees                       Amount of Money Spent
         Attorney In-Court Cost                                           $250
         Attorney Out-of-Court Cost                                     $107,291
         Total Attorney Costs                                         $107,541
         Breakdown of All Fees by Stage                   Amount of Money Spent
         Unknown Stage                                                 $80,228
         Habeas Petition Stage                                              --
         Evidentiary Hearing Stage (District and                            --
         Circuit)
         Dispositive Motion                                                  --
         Appeal                                                           $30,166
         Application to Supreme Court for Certiorari                   $2,438
         Total Case Costs                                 Amount of Money Spent
         Attorney, Expert and Expense Costs in District                 $80,228
         Attorney, Expert and Expense Costs in Circuit                   $32,604
         Total Case Costs                                               $112,822




      Background to the Crime


        In the mid-1980s, Petitioner # 3 was incarcerated for a drug-related
        crime involving two first-degree homicides. The state trial began
        almost 2 years after Petitioner # 3's arrest but lasted only 4 days.
        Petitioner # 3's habeas appeal was granted 12 years later, and the
                                                   C-20                                    PRICEVVATERHOUSECCOPER5




                                                          Exhibit 12
                                                          Page 593
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              213 of77 of 127
                                                                     263   Page ID
                                   #:4832




  Eighth Circuit Court of Appeals reduced his sentence from death to
  Life Without Parole.


The State Trial

  Even though Petitioner # 3 was charged with a capital crime, the public
  defender representing him did not prepare the trial as a death penalty
  case, because the case involved one "bad guy" killing "two other bad
  guys," which usually does not warrant a sentence of death. In fact,
  Petitioner # 3 was provided with an opportunity to plea-bargain his
  sentence down to a term of 20 years, but instead, decided to let the jury
  decide his verdict and sentence. As a result, Petitioner # 3 was found
  guilty of both murders, in addition to a robbery committed that same
  day.


  In preparation for trial, Petitioner # 3 underwent a 30-minute mental
  health evaluation that included no testing, only interviews by a
  psychologist. Despite sufficient behavior to suggest that Petitioner # 3
  might suffer from bipolar manic depression, trial counsel failed to
  request additional testing to prepare for the sentencing phase. There
  was very little mitigation evidence presented, and the jury sentenced
  Petitioner # 3 to Life Without Parole for one of the murders and to
  death for the other.


The Direct Appeal and Batson Review


  In the late 1980s, while Petitioner # 3's case was on direct appeal to
  the Missouri Supreme Court, the U.S. Supreme Court decided the case
  Batson v. Kentucky. The decision in Batson stated that neither
                                       C-21                                PRICEWATERI1OUSECCOPERS




                                              Exhibit 12
                                              Page 594
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              214 of78 of 127
                                                                     263   Page ID
                                   #:4833




 attorneys nor judges can use an individual's race as a factor to
 disqualify potential jurors from a trial. Another case further held that
 Batson applied retroactively to all cases occurring before it was
 decided. In light of this development, the Missouri Supreme Court
 sent Petitioner # 3's case back to the state trial court for a hearing on
 whether there was cause to believe that the trial prosecutor violated the
 rules laid out in the Batson decision. However, the judge who
 presided over the original trial found no Batson violations, and the
 Missouri Supreme Court affirmed Petitioner # 3's conviction and death
 sentence. The following year, the U.S. Supreme Court denied
 Petitioner # 3's application for the writ of certiorari.


State Post-Conviction Proceedings

 Over a year later, new counsel was appointed for the state post-
 conviction stage of Petitioner # 3's trial. However, Missouri law
 provided post-conviction review. Once counsel was provided, the
 petition had to be filed within 30 days, with only one additional
 extension allowed for up to 30 days thereafter. Petitioner # 3 had
  already filed apro se petition, meaning that when counsel was
  appointed, he was not provided with the full 30 days. Nevertheless,
 the attorney thought that the court would adhere to its behavior under
  the old rules (with no time limits on filing amended petitions) and filed
  six amended petitions with additional claims after the deadline had
  already passed. The court held an evidentiary hearing on the first
  claim (the others were defaulted) that lasted 8 days, and post-
  conviction relief was denied. On appeal, the Missouri Supreme Court
  affirmed the denial of relief, and the U.S. Supreme Court denied

                                        C-22                                 PRICEWATER1iOUSECOOPER5




                                               Exhibit 12
                                               Page 595
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              215 of79 of 127
                                                                     263   Page ID
                                   #:4834




 certiorari review. Seven months later, Petitioner # 3 filed his habeas
 petition in the federal district court.


Proceedings in the Federal District Court


  In federal court, Federal Habeas Attorney # 3 was appointed as
  counsel. The petition for the writ of habeas corpus included the
  Batson claim as well as claims of prosecutorial misconduct, ineffective
  assistance of counsel in the guilt and sentencing stages, and other
  claims of improper jury selection.


  The filed petition was approximately 150 pages long, and 6 months
  later the Attorney General filed a 170-page response. Three months
  later, Federal Habeas Attorney #3 submitted a 140-page reply.
  Almost a year later, the district court issued a short order denying both
  an evidentiary hearing and relief, but did not directly address the
  habeas issues. Federal Habeas Attorney #3 responded with a motion
  to alter, amend, or reconsider the previous decision, but this motion
  was denied as well.


Proceedings in the Eighth Circuit Court of Appeals


  The case continued to the Eighth Circuit Court of Appeals where
  Petitioner # 3 and Federal Habeas Attorney # 3 found a more
  sympathetic panel. The Court of Appeals affirmed the convictions but
  vacated the death sentence on fact-specific grounds of prosecutorial
  misconduct and ineffective assistance of counsel. The case returned to
  state court for re-sentencing where eventually, 14 years after his trial,

                                           C-23                               PRiCLWATERipu5EGDPER5




                                                  Exhibit 12
                                                  Page 596
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              216 of80 of 127
                                                                     263   Page ID
                                   #:4835




 Petitioner # 3 was sentenced to LWOP. While Federal Habeas
 Attorney # 3 successfully presented the case, a district court judge
 significantly reduced the amount of fees he would reimburse.


Factors Affecting the Amount of Time and Resources Expended


 Federal Habeas Attorney # 3 was not assigned to this case until about 7
 years after the trial verdict. During that time, only mental health
 status investigation had been undertaken. Because certain facts were
 underdeveloped or undeveloped during the trial, many new issues had
 to be investigated thoroughly for the first time during the habeas stage.
 In order to know what issues to investigate, Federal Habeas Attorney if
 3 devoted substantial time to reading the state trial and post-conviction
 proceeding records, which described everything that had occurred in
 the case up to that point.


  His investigation work was challenging and costly, because it occurred
  8 years after the state trial. It was difficult to find the client's family
  and friends, as well as employment and other records. Research about
  the client's bipolar manic depression absorbed much of Federal Habeas
  Attorney # 3's time, because he had to become well versed in a
  medical diagnosis with which he was unfamiliar, and also, because it
  was an issue that had been inadequately pursued at trial.


  Federal Habeas Attorney # 3 relied on the Resource Center to assist
  him, because the case involved a type of law to which he had not been
  previously exposed. In addition, several cutting-edge issues such as
  Batson and the AEDPA surfaced during state and federal proceedings.

                                         C-24                                   PRICEWATERI! OUSECOOPERS




                                                Exhibit 12
                                                Page 597
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              217 of81 of 127
                                                                     263   Page ID
                                   #:4836




 Before this case, a capital habeas corpus appeal would linger for 2 or
 more years in Missouri Western District Court. This case moved very
 quickly once it reached the circuit level, partly because of the
 sympathetic panel. Neither the district court nor the attorney general
 enforced exhaustion requirements, so Federal Habeas Attorney # 3 was
 able to submit his claims at the federal level without the state post-
 conviction court ruling on them.


 Federal Habeas Attorney #3 won the case, but his firm went into
 significant debt, partly due to the high cost of this case. Federal
 Habeas Attorney #3 concluded that he would never take a case with
 the same presiding district court judge because of the judge's refusal to
 sign Federal Habeas Attorney # 3's vouchers. According to Federal
 Habeas Attorney # 3, the subtlest factors affecting costs is attorney
 expectations on how much money judges will approve and at the same
 time how much money judges expect federal capital habeas corpus
 attorneys to request. According to Federal Habeas Attorney # 3, the
 most obvious factor is the presence of underqualified state trial
 attorneys who make mistakes that require significant resources to
 correct later in the process. Both of these factors are difficult to
 quantify.




                                       C-25                               PREEWATE RH OusECWPERS g



                                              Exhibit 12
                                              Page 598
     Case Case 3:11-cv-04454-SI
          2:09-cv-02158-CJC     Document
                             Document     28-9
                                      109-3  FiledFiled 09/26/14
                                                   06/09/14   Page Page
                                                                   218 of82 of 127
                                                                          263   Page ID
                                        #:4837




Case Profile #4
                              Table C-6 : Profile for Petitioner #4

         Petitioner Name                                  Petitioner #4
                                          Case Background
        Circuit, State, and District                          Fifth Circuit, Texas, Southern
        Number of Original Charges                                            3
        Number of Murdered Victims                                            2
        Crime Description                                     2 murders, burglary, and rape
        Case Disposition                                               Open: Active
        Number of Habeas Claims in Petition                                11-20
        Most Recent Stage of Proceeding                          Petition for Writ of Cert

                                   Amount of Time and Money Spent
         Attorney Hours                                 Number of Hours
         Attorney In-Court Hours                                            1
         Attorney Out-of-Court Hours                                       375
         Total Attorney Hours                                              376
         Breakdown of Attorney Fees                        Amount of Money Spent
         Attorney In-Court Cost                                             $88
         Attorney Out-of-Court Cost                                       $46,813
         Total Attorney Costs                                             $46,901
         Breakdown of All Fees by Stage
         Unknown Stage                                                    $13,413
         Habeas Petition                                                  $11,154
         Evidentiary Hearing (District and Circuit)                          --
         Dispositive Motion                                                $5,232
         Appeal                                                           $18,978
         Application to Supreme Court for Certiorari                        —
         Total Case Costs
         Attorney, Expert and Expense Costs in District                   $29,799
         Attorney, Expert and Expense Costs in Circuit                    $18,978
         Total Case Costs                                                 $48,777




      Background to the Crime


        In the mid-1980s, Petitioner # 4 was convicted of the burglary,
        aggravated assault, and murder of two women in a Texas suburb.
        Petitioner # 4 received a sentence of death for one of the murders and
        pled guilty to the other, which resulted in a sentence of life.

                                                  C-26                                   PRICEWATERNOISECCOPER5 a



                                                          Exhibit 12
                                                          Page 599
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              219 of83 of 127
                                                                     263   Page ID
                                   #:4838




The State Trial


  The defense counsel who represented Petitioner # 4 during the state
  trial were two former District Attorneys defending their first capital
  case. A key issue at trial was whether a law enforcement official
  coerced Petitioner # 4's confession. The trial court allowed the jury to
  hear the confession, and as a result, the guilt phase of the trial lasted 1
  week.


  At the sentencing phase, which lasted 1 day, the prosecution
  introduced several aggravating factors, arising from Petitioner # 4's
  criminal record and acts of violence in other states. Mitigating
  evidence included testimony that Petitioner # 4 was a good worker,
  exhibited a change in behavior when intoxicated, was abused as a
  child, and had been born into a dysfunctional family. The jury
  sentenced Petitioner # 4 to death for one murder. He pled guilty to the
  second murder and received a life sentence.


The Direct Appeal


  Petitioner # 4's trial counsel also represented him on direct appeal.
  The Texas Court of Criminal Appeals (CCA), the state's highest
  criminal court, affirmed Petitioner # 4's conviction and sentence. The
  CCA denied counsel's motion for a rehearing. The following winter,
  the U.S. Supreme Court denied counsel's petition for the writ of
  certiorari. The CCA set the execution date for 2 months later.




                                         C-27                               PRICEWATERHOUSECCOPERS




                                                Exhibit 12
                                                Page 600
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              220 of84 of 127
                                                                     263   Page ID
                                   #:4839




State Post-Conviction Proceedings

 Three attorneys, including Federal Habeas Attorney #4, were all
 members of the Texas Resource Center. They filed Petitioner # 4's
  state post-conviction petition in the trial court. Four days before his
  scheduled execution, Petitioner # 4 was granted a temporary stay of
  execution. Several months later, the trial court denied the petitioner's
 habeas claims. The court signed the state's proposed findings of fact
  and conclusions of law, which recommended a denial of relief without
  change or revision. According to Federal Habeas Attorney #4, this
  case was typical of Texas state post-conviction cases in that the court
  quickly set an execution date, granted a temporary extension of the
  execution date, and summarily rejected the petitioner's claims. The
  CCA adopted the trial court's findings and conclusions and denied
  relief. A new execution date was set for 6 months later.


  A couple of weeks before his scheduled execution, Petitioner # 4 filed
  a second state post-conviction petition to exhaust all remaining claims.
  Ten days later and 2 days before his execution, Petitioner # 4's state
  post-conviction petition was denied. On the day of his scheduled
  execution, Petitioner #4 filed a federal habeas petition, and his
  execution was stayed within 5 hours of the execution.


Federal District Court

  In district court, Federal Habeas Attorney #4 continued as counsel.
  The district court denied funds to investigate, which, according to
  Federal Habeas Attorney #4, is not unusual in Texas. Combined with

                                        C-28                                 PRICWATERNOUsECODPER5 M



                                               Exhibit 12
                                               Page 601
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              221 of85 of 127
                                                                     263   Page ID
                                   #:4840




 the setting of the execution date, this meant that the Texas Resource
 Center's prior work in state court represented most of the evidence
 available to petitioner's counsel. Because of time and resource
 limitations, Federal Habeas Attorney #4 was unable to perform an
 exhaustive background investigation in various parts of the country
 where both the petitioner and his family had previously lived.
 Purportedly, the denial of investigative funds is not unusual in Texas
 capital cases. The presiding district judge had granted Federal Habeas
 Attorney #4 with up to $7,500 in investigative funds in other cases,
 but only under special circumstances.


 Despite the time constraints, Federal Habeas Attorney # 4 devoted
 substantial time to reading the 3,000-page trial record. After filing a
  100-page federal capital habeas corpus petition on Petitioner # 4's
 behalf, Federal Habeas Attorney # 4 filed motions for both discovery
 and an evidentiary hearing.


 Although a Texas district judge granted an oral argument on the
 discovery motion, Federal Habeas Attorney #4 considered this
 unusual. The district court ordered a supplemental briefing on the
  discovery issue, and the hearing demanded a substantial amount of
  preparation time. At this point, the Attorney General filed a motion for
  summary judgment. In response, Federal Habeas Attorney #4 filed a
  motion to postpone the decision on summary judgment until after the
  discovery motion was resolved. However, the district court issued an
  order denying discovery and granting summary judgement. This was
  done without an opportunity for Federal Habeas Attorney #4 to
  respond to the motion for summary judgment. Although the hearing
                                       C-29                                PRICEWATERHOUSECCOPERS 0



                                              Exhibit 12
                                              Page 602
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              222 of86 of 127
                                                                     263   Page ID
                                   #:4841




 on the discovery motion was not typical, according to counsel, the final
 result was highly typical in that the motion for discovery was denied
 regardless. After the federal habeas corpus petition was denied,
 Federal Habeas Attorney #4 filed lengthy motions requesting the court
 to reconsider its ruling. These motions took about 160 hours to
 prepare and write, and were subsequently denied.


Proceedings in the Fifth Circuit Court of Appeals


  In the briefing to the Fifth Circuit Court of Appeals, there were two
 relatively standard suppression of evidence claims asserting that:
  • The prosecution did not share evidence regarding a claim of self-
      defense in an alleged prison assault involving Petitioner #4; and
  • The district court incorrectly denied discovery with regard to the
      law enforcement official's record of civilian complaints.
  The Court of Appeals affirmed the district court's decision, and a
  petition to the U.S. Supreme Court for the writ of Certiorari was filed
  earlier this year.


Factors Contributing to Costs


  Federal Habeas Attorney # 4 stated that he billed for only 20 percent of
  what he and his colleagues devoted to this case. All told, his firm was
  compensated $70,000. The district judge did not cut his vouchers. In
  another federal capital habeas corpus case, when Federal Habeas
  Attorney #4 presented a $120,000 voucher to another Texas district
  judge, the judge responded that he had never received a voucher for



                                       C-30                                 PRICEWATERF/OUsECOOPER5 0



                                              Exhibit 12
                                              Page 603
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              223 of87 of 127
                                                                     263   Page ID
                                   #:4842




 such a large amount of money and proceeded to cut the voucher by
 about 25 percent.


 The Texas Attorney General's Office is known for being experienced
 and administratively united. The Office apparently reduces costs by
 frequently using boilerplate language in its briefings and by importing
 it from one case to another. However, this can mean that arguments
 are made that are inapplicable or out of context. This can also increase
 costs for petitioner's counsel, who must respond to all of the Attorney
 General's arguments.


 Federal Habeas Attorney # 4 stated that an underlying factor increasing
 his case costs was the minimal amount of investigation work
 conducted by trial counsel. A Texas statute at the time of Petitioner #
 4's state trial provided only $500 for investigations in capital cases.
 Not only was state trial counsel unable to undertake any meaningful
 investigation, but counsel also failed to present an aggressive cross-
 examination of witnesses. As a result of these factors, Federal Habeas
 Attorney #4 had to develop or expand on information to which the
 jury could have been exposed during the original trial. By the time
 that Federal Habeas Attorney # 4 was appointed to this case, a key
 witness was in failing health, making it difficult for Federal Habeas
 Attorney #4 to question him.


  According to Federal Habeas Attorney # 4, other factors that drove
  down the costs of this case include:
  1. The setting of execution dates as a form of docket control. For
      example, Texas courts often set dates that prevent a sentenced
                                         C-31                              PRICEWATERHOUSECCOPER5




                                                Exhibit 12
                                                Page 604
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              224 of88 of 127
                                                                     263   Page ID
                                   #:4843




     individual to utilize his or her full year for filing a federal habeas
     petition (established by the AEDPA);
 2. The Attorney General did not litigate most motions, but rather,
     aimed to proceed in the most expeditious manner possible; and
 3. Federal Habeas Attorney # 4's heavy caseload which, when
     combined with the state's aggressive setting of execution dates,
     compressed the time he could spend on the case. Federal Habeas
     Attorney #4 claimed he often worked long hours for a short period
     of time to meet execution deadlines.


 Federal Habeas Attorney #4 believes that the lack of continuity of
 counsel from state to federal post-conviction increases the costs of
 Texas cases. He also mentioned that at present state post-conviction
 representation in Texas is limited to $15,000. Because judges cut his
 vouchers in previous state post-conviction proceedings, Federal
- Habeas Attorney # 4 no longer accepts appointment to state post-
 conviction cases.


 A court's denial of a request for investigation will usually decrease
 costs in the federal capital habeas corpus stage, because it limits
 potential claims. However, the federal court's denial of investigators
 may have a reverse effect on costs, because attorneys are more costly
 to compensate than investigators. On the other hand, if the attorney
  does perform the investigation, he will either have to work more hours
 to fulfill other commitments (for example, interviewing witnesses,
 researching, and so forth), or will have less time to spend on other
  activities. This is an example of how one factor may have an
  ambiguous impact on costs.
                                        C-32                                  PRiCEINATERHOUsECOOPER5




                                               Exhibit 12
                                               Page 605
     Case Case 3:11-cv-04454-SI
          2:09-cv-02158-CJC     Document
                             Document     28-9
                                      109-3  FiledFiled 09/26/14
                                                   06/09/14   Page Page
                                                                   225 of89 of 127
                                                                          263   Page ID
                                        #:4844




Case Profile # 5

                   Table C-7: Profile for Petitioner # 5

         Petitioner Name                                  Petitioner #5
                                           Case Background
         Circuit, State, and District                      Third Circuit, Pennsylvania, Eastern
         Number of Original Charges                                          1
         Number of Murdered Victims                                           1
         Crime Description                                           1 murder for hire
         Case Disposition                                              Open: Active
         Number of Habeas Claims in Petition                               11-20
         Most Recent Stage of Proceeding                   Application to United States Supreme
                                                                    Court for Certiorari

                                Amount of Time and Money Spent
         Breakdown of Attorney Hours                           Number of Hours
         Attorney hi-Court Hours                                            8
         Attorney Out-of-Court Hours                                       538
         Total Attorney Hours                                              546
         Breakdown of Attorney Fees                             Amount of Money Spent
         Attorney In-Court Cost                                            $925
         Attorney Out-of-Court Cost                                       $50,550
         Total Attorney Costs                                             $51,475
         Breakdown of All Fees by Stage                         Amount of Money Spent
         Habeas Petition                                                  $20,417
         Evidentiary Hearing (District and Circuit)                          --
         Dispositive Motion                                               $13,538
         Appeal                                                           $14,088
         Application to Supreme Court for Certiorari                       $5,137
         Total Case Costs
         Attorney, Expert and Expense Costs in District                   $13,538
         Attorney, Expert and Expense Costs in Circuit                    $39,642
         Total Case Costs                                                 $53,180




      Case Background


        In the late 1970s, Petitioner # 5 arranged a contract killing. Two co-
        defendants were charged with capital murder but were tried separately.
        The petitioner initially concocted a false story, but later confessed to


                                                  C-33                                  PR10EWITERHOLSECCOPER5 0




                                                          Exhibit 12
                                                          Page 606
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              226 of90 of 127
                                                                     263   Page ID
                                   #:4845




  the police. He then recanted his confession during the trial. Only
  Petitioner # 5 was sentenced to death.


The State Trial

  Petitioner # 5 had privately retained trial counsel. His defense was that
  his co-defendants blackmailed him, but the men ruthlessly killed the
  victim even though he paid them the money. The jury did not believe
  this story and convicted the petitioner of first-degree murder. During
  the penalty phase, the petitioner's family testified to his good
  character, but little other evidence was offered in mitigation. Petitioner
  # 5 was sentenced to death.


The Direct Appeal

  On direct appeal, Petitioner # 5 was appointed new counsel, as he
  could no longer afford private counsel. The state provided minimal
  compensation for Petitioner # 5's representation and his appeal was
  denied in 1984, 4 years after the state trial was completed. Apparently,
  the Pennsylvania Supreme Court often takes a long time to process
  capital cases.


State Post-Conviction Proceedings

  During the first of two state post-conviction proceedings, Petitioner #
  5's direct appeal attorney represented him and received expert
  assistance. After the post-conviction petition was denied, new
  evidence indicated that Petitioner # 5 was coerced to pay a co-
  defendant. Thus, the state court ordered a second hearing to consider
  this new evidence and whether trial counsel performed ineffectively.
                                      C-34                             pRrawATERHousECoopER5 0



                                             Exhibit 12
                                             Page 607
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              227 of91 of 127
                                                                     263   Page ID
                                   #:4846




 The Pennsylvania State Supreme Court rejected these claims, and the
 case proceeded to the federal district court.


Proceedings in Federal District Court

 The district court granted habeas relief, finding ineffective assistance
 of trial counsel. The District Attorney appealed. The Third Circuit
 Court of Appeals reversed the district court's decision after it
 determined that Petitioner # 5 was not prejudiced by counsel's
 ineffectiveness. The court also decided that the petitioner was not
 denied due process. However, the court remanded the case to the
 district court for consideration of the remaining issues.


 On remand, the district court denied the remaining claims, and
 Petitioner # 5 appealed. The Circuit Court of Appeals reversed the
 district court's decision, holding that the penalty phase jury
 instructions were un&onstitutionally misleading. The District
 Attorney's application to the U.S. Supreme Court for a writ of
  certiorari was denied.


Factors Affecting the Amount of Time and Resources Expended

 The number of briefings increased costs in this case. However, many
  of the strongest claims, both the penalty phase jury instruction issue
  and the ineffective assistance of counsel claim, were presented in state
  post-conviction proceedings. Thus, the investigation was well
  developed when the case reached the federal level and did not demand
  substantial federal compensation for investigation. The research into


                                        C-35                                PRICEVVATERHOUSECGOPERS   0



                                               Exhibit 12
                                               Page 608
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              228 of92 of 127
                                                                     263   Page ID
                                   #:4847




 the jury instruction claim demanded a lot of time, because it involved a
  cutting-edge issue.


 According to Federal Habeas Attorney #5, the District Attorney's
 litigation strategy did not increase costs in this case. Enforcement of
 the exhaustion requirements is not uniform in Pennsylvania. According
 to Federal Capital Habeas Attorney #5, the state prosecutor's office is
 not as centralized as California's Attorney General Office. In
 Pennsylvania, the county district attorney not only represents the state
  at trial, but also at the direct appeal and at post-conviction proceedings.
 Pennsylvania's decentralized district attorney system prevents
  development of a uniform strategy. Therefore, some cases may have
 more litigation than others. For example, Federal Habeas Attorney # 5
 mentioned that in the state of Pennsylvania, only the District Attorney
  in Philadelphia routinely refuses to waive exhaustion requirements. As
  a result, there is not the same backlog of cases that originated in
 Philadelphia as there is in those cases in the rest of the state.
 Apparently, Philadelphia also has a resourceful public defenders
  service, so ineffective assistance of counsel claims do not arise as often
  in cases from this area.


  In addition, Federal Habeas Attorney # 5 said that many cases are
  currently percolating in the Pennsylvania state post-conviction stage,
  partly because in Pennsylvania, the governor, not the court, signs death
  warrants. Prior to 1994, the presiding governor rarely signed death
  warrants. He would carefully read each case before making a decision
  and often did not feel that the death penalty was warranted. In
  addition, the Pennsylvania courts rarely enforced the statute of
                                        C-36                               ftiCEINATERROusECODPER5 0



                                               Exhibit 12
                                               Page 609
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              229 of93 of 127
                                                                     263   Page ID
                                   #:4848




 limitations for state prisoners. As a result of these two factors, Federal
 Habeas Attorney # 5 stated that during this time, there was no need to
  submit an appeal and no time pressure if an appeal was made.


 Because the current governor, elected in 1994, has signed many death
 warrants, the number of cases entering or about to enter the federal
  system has increased. Currently, there are few cases that have reached
 the circuit court. As a result, total average costs in Pennsylvania
  (district and circuit) are relatively low. However, the expectation is
 that costs might increase as cases begin to reach the later stages of
  capital litigation.




                                       C-37                                PRICEVVATERHOUSECCOPERS




                                              Exhibit 12
                                              Page 610
     Case Case 3:11-cv-04454-SI
          2:09-cv-02158-CJC     Document
                             Document     28-9
                                      109-3  FiledFiled 09/26/14
                                                   06/09/14   Page Page
                                                                   230 of94 of 127
                                                                          263   Page ID
                                        #:4849




Case Profile # 6

                                 Table C-8: Profile for Petitioner if 6

          Petitioner Name                                      Petitioner if 6
                                             Case Background
          Circuit, State, and District                          Eleventh Circuit, Alabama, Northern
          Number of Original Charges                                              3
          Number of Murdered Victims                                              2
          Crime Description                                        Homicide, arson, and burglary
          Case Disposition                                                Closed: Executed
          Number of Habeas Claims in Petition                                     5
          Most Recent Stage of Proceeding                       Application to United States Supreme
                                                                    Court for Writ of Certiorari

                                 Amount of Time and Money Spent
          Breakdown of Attorney Hours                           Number of Hours
          Attorney In-Court Hours                                          8 (Co-Counsel)
          Attorney Out-of-Court Hours                                           676                    .
          Total Attorney Hours                                                  684
          Breakdown of Attorney Fees                                 Amount of Money Spent
          Attorney In-Court Cost                                               $450
          Attorney Out-of-Court Cost                                          $57,825
          Total Attorney Costs                                                $58,275
          Breakdown of All Fees by Stage                             Amount of Money Spent
          Habeas Petition                                                     $37,290
      •   Evidentiary Hearing (District and Circuit)                            ----
          Dispositive Motion                                                    --
          Appeal                                                              $11,057
          Application to Supreme Court for Cert.                              $10,920
           Total Case Costs
           Attorney, Expert and Expense Costs in District                     $28,200
           Attorney, Expert and Expense Costs in Circuit                      $31,067
           Total Case Costs                                                   $59,267




      Background to the Crime


          Petitioner # 6 accompanied two men in an armed burglary that resulted
          in the death of the homeowner. The crime generated much anxiety and
          sorrow within the local community, particularly because the victim
          was well respected. The petitioner was arrested and held in jail for

                                                       C-38                                  PRiCEWATERHOusECOOPER5




                                                              Exhibit 12
                                                              Page 611
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              231 of95 of 127
                                                                     263   Page ID
                                   #:4850




  about 3 months before the trial began. During this time, Petitioner # 6
  confessed in great detail to the murder. Later, he claimed that he
  confessed only because he was promised a polygraph test that he
 believed would exonerate him.


The State Trial


  The two attorneys assigned to this case were compensated a total of
  $1,000. One of the attorneys had recently graduated from law school,
  and the other had never provided representation in a capital case. The
  only alibi evidence presented during the guilt phase was testimony by
  Petitioner # 6's girlfriend that Petitioner # 6 was with her when the
  crime allegedly occurred. Although the police had little direct
  evidence linking Petitioner # 6 to the crime, his confession was the
  only evidence necessary for Petitioner # 6's conviction.


  At the penalty phase, the prosecution presented evidence of Petitioner
  # 6's long criminal record, including a crime committed in prison
  while he was on trial in this case. The defense attorneys did not present
  any evidence in mitigation. In defense of their tactics, they argued that
  Petitioner # 6 did not want to be saved. According to Federal Habeas
  Attorney # 6, because they had conducted little investigation about the
  petitioner's background, they were unaware that the petitioner had
  earlier undergone a serious brain operation.


  According to Alabama statute, the jury merely recommends the
  appropriate sentence, and the judge decides whether or not to accept it.


                                       C-39                                PUCEVVATER1-.10USECOOPERS




                                              Exhibit 12
                                              Page 612
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              232 of96 of 127
                                                                     263   Page ID
                                   #:4851




 In this case, the jury and the judge were in agreement that a death
 sentence was appropriate.


The Direct Appeal


 During the direct appeal, Petitioner # 6's counsel submitted a 4-page
 brief, citing only the Miranda v. Arizona case as precedent to justify
 his appeal. The attorneys also raised the issue of prosecutorial
 misconduct but did not base their argument on case law. The Court
  denied Petitioner # 6's direct appeal.


State Post-Conviction Proceedings


  For the state post-conviction proceedings, Petitioner # 6 was appointed
  new counsel from the Southern Poverty Law Center. The new counsel
  further investigated the innocence claim. He also established a
 relationship with the petitioner's family and uncovered evidence of
  childhood psychological and sexual abuse. A psychiatrist for both the
  defense and prosecution examined the petitioner. A brain surgeon was
  also deposed regarding the petitioner's injury. The state judge denied
  post-conviction relief During the state post-conviction proceedings,
  the petitioner went on a hunger strike and underwent a religious
  conversion. From that point onward, the petitioner attended weekly
  religious meetings and no longer acted violently towards others.


Proceedings in Federal District Court


  Petitioner # 6 was assigned new counsel in federal court, a federal
  public defender who had never before represented a federal capital
                                    C-40                                  PRICEVVATERIpUSECOOPERS   0



                                            Exhibit 12
                                            Page 613
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              233 of97 of 127
                                                                     263   Page ID
                                   #:4852




 habeas corpus petitioner. Because of the scarcity of attorneys with
 federal capital habeas corpus experience in several states along the
 Gulf of Mexico, attorneys from other states are frequently appointed to
 cases in this area as happened in this case. According to Federal
 Habeas Attorney # 6, the investigation conducted by the Resource
 Center was virtually complete by the time he received the records.
 Another local attorney was appointed as co-counsel, but his duties only
 involved appearing in court. However, there were no district court
 hearings, so co-counsel's bills were minimal.


 Federal Habeas Attorney # 6 visited Petitioner # 6 in Alabama prison
 and met with the petitioner's family members. As a result of his
 religious conversion, Petitioner # 6 became a helpful source of
 information. In addition, Federal Habeas Attorney #6 met with the
 trial lawyers who provided him with the trial record. According to
 Federal Habeas Attorney # 6, the record of the state post-conviction
 proceedings was much longer than the trial transcripts, because an
 investigation and several hearings were conducted during the post-
 conviction phase.


 The district judge denied relief without ordering an evidentiary
 hearing, relying instead on the state court's findings plus various
 affidavits submitted by both parties. The court denied two of the
 claims on the merits and the others were deemed procedurally
 defaulted. The court may deny a petitioner's habeas corpus claim,
 either on the grounds that it was unjustified (on the merits), or on the
 grounds that it did not follow federal guidelines (procedural default).


                                      C-41                                  PRICEWATERIIOUSECCOPERS




                                             Exhibit 12
                                             Page 614
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              234 of98 of 127
                                                                     263   Page ID
                                   #:4853




Proceedings in the Eleventh Circuit Court of Appeals


  Federal Habeas Attorney # 6 wrote the brief filed in the Eleventh
  Circuit Court of Appeals but then withdrew from the case. New
  counsel continued to investigate the innocence claim and sought
  clemency from the Governor. The governor seriously considered
  granting clemency to Petitioner # 6, but clemency was denied. After
  the Eleventh Circuit denied the appeal, the Supreme Court twice
  denied certiorari. Petitioner was ultimately executed.


Factors Affecting the Amount of Time and Resources Expended


  At the time that Federal Habeas Attorney # 6 was working on the case,
  the Attorney General had a friendly working relationship with the
  Resource Center. Before 1995, federal capital habeas attorneys
  representing Alabama petitioners, including Habeas Attorney # 6, were
  apparently allowed unrestricted time to research and write a petition.
  The Attorney General never requested a death warrant in this case. On
  several occasions, Federal Habeas Attorney # 6 requested extensions of
  time on procedural deadlines, and they were readily granted. For a
  similar case in Pittsburgh, where this attorney has also practiced, there
  was more time pressure. The attorney claimed that strict deadlines can
  cause an attorney to rush and to waste time on a less important issue.
  The Alabama district court judge ultimately denied relief but never cut
  vouchers, nor denied funding.


  Originally, Federal Habeas Attorney #6 planned on representing
  Petitioner # 6 pro bono. When he was granted local co-counsel,

                                       C-42                                PRICEWATERHOUsECOOPER5 0




                                              Exhibit 12
                                              Page 615
Case Case 3:11-cv-04454-SI
     2:09-cv-02158-CJC     Document
                        Document     28-9
                                 109-3  FiledFiled 09/26/14
                                              06/09/14   Page Page
                                                              235 of99 of 127
                                                                     263   Page ID
                                   #:4854




 Federal Habeas Attorney # 6 changed his mind, but still did not bill
 aggressively, because he was working under salary in the Federal
 Defenders Office. Consequently, he had no overhead costs to consider
 and thus, decided to cut some hours out of his vouchers.


 According to Federal Habeas Attorney #6, the following factors
 reduced costs:
  1. The Alabama Attorney General waived exhaustion requirements to
     expedite the case. As a result, Federal Habeas Attorney # 6's case
     never reentered state court (no bouncing effect);
 2. The Alabama Attorney General requested, and the court granted,
     procedural default. Depending on the case, procedural default
     generally can either speed up or slow down the federal habeas
     corpus process. In some cases, procedural default is argued on
     every issue and usually denied, thus adding many unnecessary
     hearings. In other cases, like this one, procedural default is
     immediately granted on the petitioner's claims and the case is
     shortened;
 3. Federal Habeas Attorney # 6 did not perform any substantial
     investigation, because the state post-conviction proceedings
     already had held exhaustive hearings, and the Resource Center
     completed the other necessary investigation work; and
 4. Federal Habeas Attorney #6 worked in a publicly funded office,
     where he received a salary and paid no overhead.


 Federal Habeas Attorney # 6 also mentioned that there was a lack of
 issues to raise in this particular case. The innocence claim was difficult
 to prove, because several key witnesses would not cooperate, and
                                      C-43                               PRICEWATERHOUSECCOPER5




                                             Exhibit 12
                                             Page 616
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  100
                                                                236 of   of 127
                                                                       263  Page ID
                                     #:4855




 because direct appeal counsel raised so few issues. The district court
 decided only two claims on the merits. The rest were procedurally
 defaulted.


 Finally, personal characteristics of the petitioner played a role in
 reducing costs, as Petitioner # 6 was generally easy to work with at the
 federal level. Federal Habeas Attorney # 6 received additional pro
 bono legal assistance from law professors at the Columbia University
 and New York University Law Schools. This use of an outside
 resource is an instance whereby the AOUSC did not incur all costs.




                                       C-44                               PRICEVVATERHOUSCCOPERS




                                              Exhibit 12
                                              Page 617
     CaseCase  3:11-cv-04454-SIDocument
          2:09-cv-02158-CJC       Document 28-9FiledFiled
                                        109-3             09/26/14
                                                      06/09/14  PagePage  101
                                                                     237 of   of 127
                                                                            263  Page ID
                                          #:4856




Case Profile # 7

                           Table C-9: Profile for Petitioner #7

         Petitioner Name                                  Petitioner # 7
                                           Case Background
         Circuit, State, and District                           Seventh, Illinois, Northern
         Number of Original Charges                                           8
         Number of Murdered Victims                                           2
         Crime Description                                  Double Homicide, Armed Burglary
         Case Disposition                                           Closed: Executed
         Number of Habeas Claims in Petition                                 10
         Most Recent Stage of Proceeding                      Application to the United States
                                                            Supreme Court for Writ of Certiorari

                                   Amount of Time and Money Spent
         Attorney Hours                                             Number of Hours
         Attorney La-Court Hours                                             10
         Attorney Out-of-Court Hours                                        703
         Total Attorney Hours                                               713
         Attorney Fees in-Court/Out-Court                        Amount of Money Spent
         Attorney In-Court Cost                                            $790
         Attorney Out-of-Court Cost                                       $64,761
         Total Attorney Costs                                             $65,551
         Breakdown of Attorney Fees by Stage                     Amount of Money Spent
         Habeas Petition                                                  $25,138
         Evidentiary Hearing (District and Circuit)                         ----
         Dispositive Motion                                                $3,345
         Appeal                                                           $37,171
         Application to Supreme Court for Certiorari                        --
         Total Case Costs
         Attorney, Expert and Expense Costs in District                   $28,483
         Attorney, Expert and Expense Costs in Circuit                    $37,171
         Total Case Costs                                                 $65,654




      Background to the Crime


        In the early 1980s, Petitioner #7 was involved in two armed robberies
        in the Chicago area. During the second robbery, three people were
        shot; two were killed. Petitioner # 7 was immediately apprehended.



                                                  C-45                                   PRICEVIATERHOUSECCOPERS




                                                          Exhibit 12
                                                          Page 618
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  102
                                                                238 of   of 127
                                                                       263  Page ID
                                     #:4857




  While in police custody, a court reporter transcribed the petitioner's
  45-page oral confession.


The State Trial


  Petitioner # 7 was represented at trial by two county public defenders
  who worked in the murder task force division. Because this was an
  early case, trial counsel was hindered by the lack of an organized
 manual to assist Illinois defense counsel in determining how to best
 prepare for both the guilt and penalty phases of a death penalty case.
 Now, however, there are various texts available to defense attorneys
  who provide representation in Illinois death penalty cases.


  The defense had difficulty mustering a powerful argument with respect
  to Petitioner # 7's guilt in light of his confession and entered a blind
  guilty plea on the day the case was set for trial. In other words, the
  defendant changed his plea from not guilty to guilty without any
 promise of leniency from the prosecution or from the court. Possibly
 because this was the presiding judge's first death penalty case, he
  failed to issue admonishments to the defense when they changed their
 plea. An admonishment is a judge's warning to the defendant to
  ensure that he understands that he is voluntarily surrendering the
 procession of the guilt phase, and that all promises made by the court
  or by the state are on the record. There is no record of such promises.


  At the penalty phase, the state presented the petitioner's criminal
  record, but he had no felonies as an adult and had never served a day in
  the Illinois Department of Corrections. The state also presented the

                                        C-46                                 PRICWVATERHOusECCOPER5




                                               Exhibit 12
                                               Page 619
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  103
                                                                239 of   of 127
                                                                       263  Page ID
                                     #:4858




  gruesome details of the crime with little cross-examination by the
  defense. Four witnesses testified on the petitioner's behalf. Two were
  family members and two were former employers. The testimony of the
  employees was eventually used against in the petitioner as aggravating
  evidence. There was some evidence of a history of drug abuse, which
 defense counsel never presented. The defense made a motion to
 perform a psychological study of the petitioner, but the court denied
 the motion. The defense also argued that the Illinois capital crime
  statute was unconstitutional. The public defenders' closing argument
 was about 10 pages long and counsel simply made a plea for
  compassion from the judge. The trial record was only 500 pages, most
 of which included the state's presentation of aggravating factors.
 Federal Habeas Attorney # 7 noted that the record's length was
  comparable to that of a simple automobile theft case.


 The court sentenced .Petitioner # 7 to death. After the death sentence
 was handed down, defense counsel made a motion to withdraw the
 guilty plea, but the motion was denied.


The Direct Appeal


 In Illinois, capital appeals proceed directly to the Illinois State
  Supreme Court. The state funded Appellate Defenders Office
 represented the petitioner on direct appeal. The primary issue was the
 voluntariness of the guilty plea, because the plea was entered
 haphazardly. The Supreme Court denied the petitioner's appeal by a
  single vote of 4 to 3.


                                        C-47
                                                                          PRICEWATERHOUSECCOPEPS 0



                                               Exhibit 12
                                               Page 620
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  104
                                                                240 of   of 127
                                                                       263  Page ID
                                     #:4859




State Post-Conviction Proceedings


 During the state post-conviction proceedings, the Appellate Defenders
 Office continued representation and repeated the argument that the
 guilty plea was entered involuntarily. Neither the State court nor the
 Attorney General was in any hurry for this case to proceed. As a
 result, there was an extended period of time to file briefs. A new
  execution date was set during this delay. Even though the U.S.
  Supreme Court decided that ineffective assistance of counsel during
 the state trial is a legitimate state and federal habeas corpus claim,
 ineffective assistance of trial counsel was never raised, and post-
  conviction relief was denied without a hearing.


Proceedings in Federal District Court


  The Appellate Defenders Service withdrew from the case, because they
  could not claim their own ineffective assistance of counsel for failing
  to raise on appeal trial counsel's failure to investigate and present any
  mitigating evidence. As a result, Federal Habeas Attorney # 7 was
  appointed to represent Petitioner # 7 in federal court. In addition to the
  ineffective assistance of state trial and post-conviction counsel claims,
  Federal Habeas Attorney # 7 also raised issues with respect to the
  constitutionality of the Illinois death penalty statute.


  Much of the early litigation in the district court involved the need for
  an evidentiary hearing. The district judge eventually postponed the
  execution date until after the completion of federal proceedings. In the
  early 1990s, the judge finally issued an opinion stating that the trial

                                        C-48                                  PRICEVVATERNOUSECOOPERS 0




                                               Exhibit 12
                                               Page 621
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  105
                                                                241 of   of 127
                                                                       263  Page ID
                                     #:4860




 court judge should not have accepted Petitioner # 7's guilty plea
 without first admonishing him properly. The state could have foregone
 the appeal and accepted a sentence of LWOP, but instead decided to
 appeal to the Seventh Circuit Court of Appeals.


Proceedings in the Seventh Circuit Court of Appeals


 The Seventh Circuit Court of Appeals reversed the district court's
 decision. In a motion to reconsider the court's decision, Federal
 Habeas Attorney # 7 mentioned that the district court overlooked
 several claims. The motion for reconsideration and a subsequent
 petition to the U.S. Supreme Court for the writ of certiorari were both
 denied, but the Circuit Court remanded the case and ordered the district
 court to decide on all remaining claims.


 Thereafter, the district court denied relief on the remaining claims,
 including the ineffective assistance of counsel claim. Federal Habeas
 Attorney # 7 appealed to the Seventh Circuit Court of Appeals. The
  Court denied the second appeal expeditiously, and the U.S. Supreme
  Court subsequently denied the second petition for the writ of certiorari.
  At the request of the Attorney General, the district court set an
  execution date for the end of 1997. Federal Habeas Attorney # 7 filed
  a state post-conviction petition in the state court. The motion was
  denied.


  Federal Habeas Attorney # 7 returned to the federal district court by
  filing a new petition arguing that the AEDPA's 1-year statute of
  limitations did not apply to this case. The district court denied relief,

                                        C-49                                  PRICEWATERHOUSECOOPER5




                                               Exhibit 12
                                               Page 622
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  106
                                                                242 of   of 127
                                                                       263  Page ID
                                     #:4861




 but did grant a Certificate of Appealability (see Life Cycle section).
 The Seventh Circuit Court of Appeals denied the Certificate of
 Appealability after 3 days of review, and Federal Habeas Attorney # 7
 filed an emergency petition in the U.S. Supreme Court. The Supreme
 Court denied the petition, and on the same day, the governor of Illinois
 denied a petition for clemency. Petitioner # 7 was executed at 12:01
 a.m. the next day.


Factors Affecting the Amount of Time and Resources Expended


 The district court never reduced Federal Habeas Attorney # 7's
 vouchers, but counsel was initially compensated at a rate of only $75
 an hour. The judge's rationale behind this relatively low rate was that
 this case was relatively straightforward. After the first reversal, the
 Court of Appeals granted Federal Habeas Attorney #7 the maximum
, rate of $125 an hour.


 As with many other cases in this study, Federal Habeas Attorney #7
 had several resources available to him, most notably law school
 students who provided free legal assistance. The Resource Center
 conducted the investigation for Federal Habeas Attorney #7, and he
 therefore did not bill for any investigation work.


 If the presentation of aggravating evidence at the penalty phase had not
 been included in the trial record, it would have totaled only about 50
 pages. As a result, Federal Habeas Attorney # 7 did not need to devote
 much time to learning the case. The brevity of the record raised other
  challenges, though, such as the need to investigate and pursue other

                                       C-50                                PRiavvATERHousEcoDpERs 0



                                              Exhibit 12
                                              Page 623
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  107
                                                                243 of   of 127
                                                                       263  Page ID
                                     #:4862




 possible habeas claims. When this case was delayed, there were
 changes in the law that required new research. Moreover, every time
 an issue arose or a court date approached, the attorney had to become
 reacquainted with the case. In addition, this was Federal Habeas
 Attorney # 7's first federal capital habeas corpus case, so it took some
 time before he fully understood this type of law. Overall, the bulk of
 attorney costs was spent drafting the habeas petition. Part of the costs
 could be attributed to the ineffective assistance of counsel at the state
 level, because so many facts were left undeveloped in the state
 proceedings.


 The court appointed one expert, a psychologist and a neurologist who
 examined Petitioner # 7 at the early stages of the federal proceedings.
 Because there were no evidentiary hearings or research expenses, the
 bills were relatively low, considering that Habeas Attorney # 7 was in
 district court twice and circuit court three times. Still, Federal Habeas
 Attorney # 7 subsidized this case through earnings from his own
 privately retained clients.


 The Attorney General's office did not substantially drive costs up in
 this case. The Attorney General raised exhaustion questions and filed
 a response to everything, whether it was merited or not. Federal
 Habeas Attorney #7 attributed this frustrating strategy at least partly to
 the Attorney General's inexperience with federal capital habeas corpus
  cases. Federal Habeas Attorney # 7 believes that the Attorney
  General's strategy has become less frustrating, as they have become
 more experienced in these cases. On the other hand, according to
 Federal Capital Habeas Attorney # 7, the Attorney General has adopted
                                       C-51                                  PRICEWATERHOUsECCOPERS



                                              Exhibit 12
                                              Page 624
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  108
                                                                244 of   of 127
                                                                       263  Page ID
                                     #:4863




 a more aggressive strategy to decrease the current backlog of death
 penalty cases on appeal in Illinois. Unlike Pennsylvania, both Illinois
 governors have signed death warrants expeditiously, and partly as a
 result, more cases have reached the federal stage.


 In the past, the state did not track cases, but according to Federal
 Habeas Attorney #7, the Illinois Attorney General's Office has
 become much more centralized. According to Federal Capital Habeas
 Attorney #7, the primary issue currently litigated by the Illinois
 Attorney General's Office is the AEDPA and the application of
 procedures initially intended to expedite cases. Purportedly, the
 litigation of procedural issues has delayed or prevented many cases
 from being argued on their merits, and Federal Habeas Attorney #7 is
 not sure whether this piece of legislation will, in the end, reduce costs.




                                        C-52                               PRICEWATERHOUsECCOPERS



                                               Exhibit 12
                                               Page 625
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  109
                                                                245 of   of 127
                                                                       263  Page ID
                                     #:4864




                               Exhibit 13
 California Department of Corrections.
 Condemned Inmates Who Have Died
Since 1978, March 4, 2014 (available at
        http://www.cdcr.ca.gov/
Capital_Punishment/docs/CONDEMNE
DINMATESWHOHAVEDIEDSINCE19
                78.pdf)




                                     Exhibit 13
                                     Page 626
    CaseCase  3:11-cv-04454-SIDocument
         2:09-cv-02158-CJC       Document 28-9FiledFiled
                                       109-3             09/26/14
                                                     06/09/14  PagePage  110
                                                                    246 of   of 127
                                                                           263  Page ID
                                         #:4865

       CONDEMNED INMATES WHO HAVE DIED SINCE 1978

______NAME: _________           DATE DIED: _________              CAUSE:_______

1. David Moore                 November 29, 1980                  Suicide
2. Richard Chase               December 26, 1980                  Suicide
3. Ronald Hawkins              January 17, 1983                   Suicide
4. George Carpenter            January 30, 1984                   Suicide
5. Mose Willis                 June 26, 1988                      Natural Causes
6. Joselito Cinco              December 26, 1988                  Suicide
7. Ronald Fuller               March 24, 1989                     Suicide
8. Lewis Crain                 November 3, 1989                   Natural Causes
9. Joseph Poggi                March 22, 1990                     Natural Causes
10. Martin Gonzalez            March 30, 1990                     Natural Causes
11. Gary Guzman                February 7, 1991                   Natural Causes
12. Donrell Thomas             March 31, 1992                     Suicide
13. Robert Alton Harris        April 21, 1992                     *Executed*
14. Jay Kaurish                November 6, 1992                   Natural Causes
15. David Mason                August 24, 1993                    *Executed*
16. Corvin Emdy                September 18, 1993                 Suicide
17. Robert McDonald            December 31, 1993                  Natural Causes
18. Christopher Day            January 29, 1994                   Suicide
19. Roland Comtois             May 6, 1994                        Natural Causes
20. Timothy Pride              September 30, 1994                 Shot on Exercise Yard
21. Robert Danielson           September 7, 1995                  Suicide
22. William Bonin              February 23, 1996                  *Executed*
23. Keith Williams             May 3, 1996                        *Executed*
24. Jeffrey Kolmetz            August 16, 1996                    Natural Causes
25. Jeffrey Wash               September 12, 1996                 Suicide
26. Michael Wader              May 11, 1997                       Natural Causes
27. Sammy Marshall             June 15, 1997                      Heart attack after
                                                                  pepper spray exposure
28. Jimmy Palma                October 13, 1997                   Stabbed on exercise yard
29. Thomas Walker              November 18, 1997                  Suicide
30. Jessie Ray Moffat          May 2, 1998                        Natural Causes
31. Thomas Thompson            July 14, 1998                      *Executed*
32. Andrew Robertson           August 22, 1998                    Natural Causes
33. William Poynor             October 19, 1998                   Natural Causes
34. Jerry Bailey               December 25, 1998                  Natural Causes
                   California Department of Corrections and Rehabilitation
                       Office of Public and Employee Communications
                                        March 4, 2014

                                          Exhibit 13
                                          Page 627
 CaseCase  3:11-cv-04454-SIDocument
      2:09-cv-02158-CJC       Document 28-9FiledFiled
                                    109-3             09/26/14
                                                  06/09/14  PagePage  111
                                                                 247 of   of 127
                                                                        263  Page ID
                                      #:4866

35. Kelvin Malone              January 13, 1999                   *Executed in MO*
 36. Jaturun Siripongs         February 9, 1999                   *Executed*
37. Manuel Babbit              May 4, 1999                        *Executed*
38. Bronte Wright              February 5, 2000                   Natural Causes
39. Darrell Rich               March 15, 2000                     *Executed*
40. Robert Lee Massie          March 27, 2001                     *Executed*
41. Frank Dean Carter          August 21, 2001                    Natural Causes
42. James Warren Bland         August 30, 2001                    Natural Causes
43. Theodore F. Frank          September 5, 2001                  Natural Causes
44. George Marshall            October 14, 2001                   Natural Causes
45. Stephen Anderson           January 29, 2002                   *Executed*
46. Stephen DeSantis           March 2, 2002                      Natural Causes
47. Gerald Gallego             July 18, 2002                      Natural Causes
                                                                  (Died in Nevada)
48. Robert Nicolaus            April 12, 2003                     Natural Causes
49. Robert E. Stansbury        December 12, 2003                  Natural Causes
50. Raymond Johns              March 28, 2004                     Natural Causes
51. Paul Brown                 April 10, 2004                     Natural Causes
52. Charles Whitt              November 7, 2004                   Natural Causes
53. Robert F. Garceau          December 29, 2004                  Natural Causes
54. Donald J. Beardslee        January 19, 2005                   *Executed*
55. Nicholas Rodriguez         July 10, 2005                      Drug Overdose
56. Larry Davis Jr.            September 2, 2005                  Acute drug toxicity
57. Caroline Young             September 16, 2005                 Natural Causes
58. Drax Quartermain           September 22, 2005                 Natural Causes
59. Michael Ihde               October 9, 2005                    Natural Causes
60. Donald Miller              October 14, 2005                   Natural Causes
61. Stanley Williams           December 13, 2005                  *Executed*
62. Stuart Alexander           December 27, 2005                  Natural Causes
63. Clarence Ray Allen         January 17, 2006                   *Executed*
64. Earl Preston Jones         February 3, 2006                   Natural Causes
65. Robert Thompson            October 1, 2006                    Natural Causes
66. James Tulk                 November 30, 2006                  Suicide
67. Alejandro G. Ruiz          January 4, 2007                    Natural Causes
68. Marcelino Ramos            January 22, 2007                   Natural Causes
69. Raymond Gurule             February 3, 2007                   Natural Causes
70. Herb Koontz                May 5, 2007                        Natural Causes
71. Tony Lee Reynolds          June 10, 2007                      Suicide
72. Billy Ray Hamilton         October 22, 2007                   Natural Causes
73. Bill Bradford              March 10, 2008                     Natural Causes
                   California Department of Corrections and Rehabilitation
                       Office of Public and Employee Communications
                                        March 4, 2014

                                       Exhibit 13
                                       Page 628
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  112
                                                                248 of   of 127
                                                                       263  Page ID
                                     #:4867

74. Alfredo Padilla           July 25, 2008                      Natural Causes
75. Edward Bridges            October 9, 2008                    Suicide
76. Terrance C. Page          December 5, 2008                   Suicide
77. Isaac Gutierrez, Jr.      December 7, 2008                   Natural Causes
78. Thomas Edwards            February 14, 2009                  Natural Causes
79. Larry Graham              June 16, 2009                      Suicide
80. Lawrence Bergman          June 26, 2009                      Natural Causes
81. Michael Mattison          July 17, 2009                      Natural Causes
82. Fred Freeman              July 25, 2009                      Natural Causes
83. Miguel Martinez           July 26, 2009                      Natural Causes
84. Albert Howard             August 13, 2009                    Natural Causes
85. David Arisman             September 5, 2009                  Natural Causes
86. Cedric Harrison           November 19, 2009                  Natural Causes
87. Joseph Musselwhite        February 2, 2010                   Natural Causes
88. Robert Rubane Diaz        August 11, 2010                    Natural Causes
89. George Hatton Smithey     August 28, 2010                    Suicide
90. John Levae Post           December 20, 2010                  Other
91. Richard Parson            February 28, 2011                  Natural Causes
92. James Glenn VanPelt       March 6, 2011                      Natural Causes
93. Brandon Wilson            November 17, 2011                  Suicide
94. David Murtishaw           November 22, 2011                  Natural Causes
95. Dennis H. Lawley          March 11, 2012                     Natural Causes
96. Frank Abilez              April 3, 2012                      Natural Causes
97. James Lee Crummel         May 27, 2012                       Suicide
98. Kenneth Friedman          August 26, 2012                    Suicide
99. James Karis               January 31, 2013                   Natural Causes
100. Justin Helzer            April 14, 2013                     Suicide
101. Mario Gray               May 4, 2013                        Natural Causes
102. Timothy Rodriguez        June 2, 2013                       Natural Causes
103. Richard Ramirez          June 7, 2013                       Natural Causes
104. Timothy Russell          October 5, 2013                    Pending
105. Albert Ruiz              December 29, 2013                  Natural Causes
106. Wilbur Lee Jennings      February 11, 2014                  Natural Causes
107. Ralph Michael Yeoman     March 4, 2014                      Pending




                  California Department of Corrections and Rehabilitation
                      Office of Public and Employee Communications
                                       March 4, 2014

                                     Exhibit 13
                                     Page 629
    CaseCase  3:11-cv-04454-SIDocument
         2:09-cv-02158-CJC       Document 28-9FiledFiled
                                       109-3             09/26/14
                                                     06/09/14  PagePage  113
                                                                    249 of   of 127
                                                                           263  Page ID
                                         #:4868

   SUMMARY OF CONDEMNED INMATES WHO HAVE DIED SINCE 1978
_________________________ ________________________________________________

Executed in California: 13
Executed in Missouri: 1
Total Executions: 14
Natural Causes: 63
Suicide: 22
Other: 6
Pending: 2

Total Non-Execution Deaths: 93

Total Deaths: 107




                     California Department of Corrections and Rehabilitation
                         Office of Public and Employee Communications
                                          March 4, 2014

                                             Exhibit 13
                                             Page 630
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  114
                                                                250 of   of 127
                                                                       263  Page ID
                                     #:4869




                               Exhibit 14
Howard Mintz, State U.S. Courts at Odds
on Sentences - Different Standards Lead
 to Reversals, San Jose Mercury News,
             April 15, 2002




                                     Exhibit 14
                                     Page 631
      CaseCase  3:11-cv-04454-SIDocument
           2:09-cv-02158-CJC       Document 28-9FiledFiled
                                         109-3             09/26/14
                                                       06/09/14  PagePage  115
                                                                      251 of   of 127
                                                                             263  Page ID
                                           #:4870




STATE, U.S. COURTS AT ODDS ON SENTENCES - DIFFERENT STANDARDS LEAD TO
REVERSALS
San Jose Mercury News (CA) - Monday, April 15, 2002
Author: HOWARD MINTZ, Mercury News

When it comes to death sentences, the California Supreme Court and federal courts seldom
agree. The state's highest court upholds them. Federal judges overturn them.

The conflict between these two powerful institutions can be seen in cases like that of James
Richard Odle, who was convicted in 1983 of murdering a Contra Costa County woman and then
killing a police officer in a shootout.

Odle's guilt has never been in doubt. But last year, a federal appeals court reversed the death
sentence based on evidence that had been disregarded by the state courts throughout Odle's
18-year legal odyssey.

Long before the slayings, doctors treating Odle for injuries suffered in a car accident had removed
part of his brain. The state Supreme Court, in rejecting his appeals on four occasions, never
considered the brain injury relevant to whether Odle was mentally competent to stand trial.

The federal judges not only considered the injury important but also found that the state's failure
to evaluate its impact on Odle may entitle him to a new trial.

As Odle's case illustrates, federal judges and the state Supreme Court have developed very
different legal standards for evaluating death sentences -- such different standards that nowhere
in the country is there a more pronounced divide in the way a state high court and the federal
courts administer death-penalty justice.

A comprehensive Mercury News review of death-penalty appeals found 36 cases in which the
California Supreme Court noted problems in a trial and decided they were not important enough to
reverse a death sentence -- and a federal court later overturned the sentence because of those
same problems.

The review found that federal courts, by reversing six out of 10 California death sentences, are
overturning a higher percentage of capital cases than those from any other state. But it is the
California Supreme Court that has moved further from the national norm in ruling on these
life-and-death cases, affirming nine of every 10 it reviews.

Studies show that the California Supreme Court is less likely to overturn a death sentence than
just about any of the 38 state high courts that review capital appeals.

''Maybe the reality is that state courts aren't looking at things they should be,'' said Judge Alex
Kozinski of the 9th U.S. Circuit Court of Appeals, a President Reagan appointee who has voted to
affirm and reverse death sentences, and who wrote the ruling overturning Odle's sentence.

''I've been amazed and sometimes appalled at some of the things I've seen come out of the state
system,'' he said.

For California, the consequences of this conflict are enormous, with more than 600 inmates on
death row waiting for their appeals to make their way through the system.

Legacy of 1986
Death penalty seen
as political must

The review indicates that the federal courts have become a formidable counterweight to the
conservative California Supreme Court that grew out of the 1986 election in which voters removed
Chief Justice Rose Bird and two liberal colleagues who consistently voted to reverse death
sentences.

                                                                Exhibit 14
                                                                Page 632
       CaseCase  3:11-cv-04454-SIDocument
            2:09-cv-02158-CJC       Document 28-9FiledFiled
                                          109-3             09/26/14
                                                        06/09/14  PagePage  116
                                                                       252 of   of 127
                                                                              263  Page ID
                                            #:4871
That is particularly true of the San Francisco-based 9th Circuit, the nation's largest appeals court.
The court, which covers California and eight other states, has voted eight times since November
to reverse a California death sentence.

California's seven-member high court includes six justices appointed by the tough-on-crime
Republican Govs. George Deukmejian and Pete Wilson. And the death penalty remains such a
political must in California that Gov. Gray Davis, a Democrat, demands support for it from his
judicial nominees, including his recent choice for the Supreme Court, Carlos Moreno.

Even some federal judges who review the California Supreme Court's work wonder whether the
ghosts of the 1986 election still haunt the state's justices. Federal judges are appointed for life.

''It may well be they are saying, 'What the hell, the 9th Circuit or the district courts will take care of
it if there is a problem,' '' said one 9th Circuit judge, insisting on anonymity. ''We're free from
political pressure.''

California Supreme Court Chief Justice Ronald George strongly denied that political
considerations have anything to do with the court's record indeath-penalty cases. His court takes
a hard look at every death sentence, he said.

But George also acknowledged the conflict with his federal counterparts: ''It may just be we have
different standards on prejudicial error than the federal courts,'' he said.

''The bulk of the cases in which they granted relief, we recognize some error,'' he said. ''But in the
context of evaluating all the evidence and the law, we found'' the errors not prejudicial.

Critics speak out
Prosecutors decry
federal reversals

Death-penalty supporters say the problem is with the federal courts, which have been accused of
blocking California's death penalty since at least 1992. That year, California executed its first
inmate since the reinstatement of capital punishment, Robert Alton Harris, only after the U.S.
Supreme Court issued an unprecedented order forbidding any more federal delays.

Supporters say the federal courts are interfering with a death-penalty law that the state's voters
strongly support, and that the state Supreme Court affirms most death sentences because
California's capital trials are fundamentally fair. Prosecutors such as Gary Yancey, the former
Contra Costa County district attorney who tried James Odle, call the federal court reversals
''nonsense.''

Prosecutors are particularly frustrated because Congress enacted a law in 1996 intended to make
it tougher for federal judges to second-guess the state courts in death-penalty cases. The U.S.
Supreme Court has adopted a strict reading of the law, but even that hasn't mattered in California
cases.

''The U.S. District Courts and the 9th Circuit are vehemently opposed to the death penalty,'' said
Alameda County prosecutor James Anderson, who has sent more murderers to death row than
anyone else in California. ''We're at their mercy.''

To prevail in federal court, the last stop in the appellate process, death row inmates must show
that their constitutional rights were violated at trial. And federal judges in California do appear to
reverse a higher percentage of death sentences than their counterparts elsewhere.

The Mercury News found that federal judges have overturned 36 of 58 cases in the state -- 62
percent -- since California restored capital punishment in 1978. Nationally, a Columbia University
study found that all federal courts reversed about 40 percent of cases from 1973 to 1995.
Because of California's long delays, few of its cases had reached the federal level by 1995.

Only the Atlanta-based 11th Circuit, which covers Florida and other states, came close to the 9th
Circuit, reversing 50 percent of its death sentences. At the other extreme, the conservative 4th
Circuit reversed about 15 percent of death sentences in Virginia, Maryland and the Carolinas.

A league of its own
California reverses
fewest capital cases


                                                                   Exhibit 14
                                                                   Page 633
      CaseCase  3:11-cv-04454-SIDocument
           2:09-cv-02158-CJC       Document 28-9FiledFiled
                                         109-3             09/26/14
                                                       06/09/14  PagePage  117
                                                                      253 of   of 127
                                                                             263  Page ID
                                           #:4872
The state Supreme Court, however, stands alone at the opposite end: the Mercury News found
that since 1997 it has reversed seven of the 67 death sentences for which it has produced full
rulings, or 10 percent. By comparison, the Columbia study found that other state high courts
reversed about 40 percent.

Even in Texas, which leads the country in executions, state courts reversed 31 percent, triple
California's rate.

''The fact there are federal court reversals in California doesn't mean jack because there are no
state court reversals,'' said Maria Stratton, the chief federal public defender in Los Angeles who
has supervised dozens of death-penalty appeals.

In fact, there is evidence that the 9th Circuit is more willing to uphold death sentences when state
courts are more aggressive in weeding out flaws. Consider the case of Arizona, where the high
court reverses two out of every five sentences it reviews, four times California's rate.

When Arizona affirms a death sentence, the 9th Circuit tends to agree, reversing 42 percent of
them, in line with the national average. One result is that Arizona has executed 22 people since
1992, compared with 10 in California, even though its death row is one-fifth the size.

A second fact that stands at odds with the critics' portrayal of liberalbias in the 9th Circuit is this:
The court has many conservatives among its current and former judges, and the Mercury News
review shows that those conservatives have voted dozens of times to overturn death sentences.

While Democratic appointees do vote more often to reverse sentences, Republican appointees
voted to reverse in about a third of the cases.

''It's not a secret to anybody that the 9th Circuit views the death penalty different than some other
places,'' said Idaho-based 9th Circuit Judge Stephen Trott, a Reagan appointee who usually votes
to affirm death sentences. ''But we just call them the way we see them. I think the 9th Circuit as a
court attacks these things very objectively.''

Faulty defense
Court downplays poor lawyering

The central difference between the California court and the federal courts in capital cases is how
they regard trial mistakes. And the review of reversed death sentences shows that the main
example of this conflict is how judges view the issue of inadequate legal representation.

Incompetent lawyering -- which can often be the difference between a defendant being sentenced
to death and being sentenced to life in prison -- is the biggest reason for reversals in the federal
courts.

Federal judges have overturned 19 death sentences because of constitutionally defective
representation -- half of all the cases they have reversed.

In the state Supreme Court, by comparison, incompetent representation is the third-most-common
reason for reversals. Of the hundreds of cases the state court has heard (most have not yet
reached the federal level), it has reversed seven for bad lawyering.

The result can be seen in cases like that of Steven Ainsworth, who was convicted in 1980 of
murdering a woman near Sacramento in the Sacramento area. The jury sentenced him to death
after his lawyer put on four witnesses in the penalty phase of the trial during a one-hour defense.

The California Supreme Court, without comment, rejected Ainsworth's claims that the verdict was
unfair because his lawyer had failed to prepare for the penalty phase.

But federal judges took a different view. In 1999, U.S. District Judge Lawrence Karlton reversed
the death sentence, saying Ainsworth's legal defense ''amounted to no representation at all.'' Last
fall the 9th Circuit agreed, affirming Karlton's decision.

Twenty-one years after trial, the appeals court concluded that Ainsworth's lawyer ''failed to
investigate, develop or present the wealth of evidence available.''

Caption: Photo, Charts (2)
PHOTO: CALIFORNIA DEPARTMENT OF CORRECTIONS
Although California leads the nation in death row inmates, only 10 people have been executed

                                                                   Exhibit 14
                                                                   Page 634
      CaseCase  3:11-cv-04454-SIDocument
           2:09-cv-02158-CJC       Document 28-9FiledFiled
                                         109-3             09/26/14
                                                       06/09/14  PagePage  118
                                                                      254 of   of 127
                                                                             263  Page ID
                                           #:4873
since 1978. Most death sentences upheld by the state's high court are ultimately overturned in
federal court.
Memo: RELATED STORIES: page 12A

Edition: Morning Final
Section: Front
Page: 1A
Series: LIFE-AND-DEATH DECISIONS THE DEATH PENALTY IN CALIFORNIA Second in an
occisional series
Record Number: 0204160173
Copyright (c) 2002 San Jose Mercury News
To bookmark this article, right-click on the link below, and copy the link location:
STATE, U.S. COURTS AT ODDS ON SENTENCES - DIFFERENT STANDARDS LEAD TO
REVERSALS




                                                             Exhibit 14
                                                             Page 635
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  119
                                                                255 of   of 127
                                                                       263  Page ID
                                     #:4874




                               Exhibit 15
        Declaration of Michael Laurence,
                            June 9, 2014




                                     Exhibit 15
                                     Page 636
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  120
                                                                256 of   of 127
                                                                       263  Page ID
                                     #:4875


                 DECLARATION OF MICHAEL LAURENCE

     I, Michael Laurence, declare as follows:

            1.    I am an attorney at law admitted to practice by the State of
     California and before this Court. I am the Executive Director of the
     Habeas Corpus Resource Center (HCRC).

            2.    On October 20, 2000, the California Supreme Court
     appointed the HCRC to represent Ernest Jones in habeas corpus
     proceedings stemming from his convictions and judgment of death. Mr.
     Jones filed a petition for writ of habeas corpus in the California Supreme
     Court on October 21, 2002. On April 14, 2009, this Court appointed the
     HCRC to represent Mr. Jones in his federal habeas corpus proceedings. I
     was designated lead counsel in both proceedings.

            3.    In 2008, the Commission on the Fair Administration of
     Justice recommended a five-fold increase in the HCRC’s budget, phased
     in over a five-year period, to address the severe shortage of counsel
     willing and able to accept habeas corpus appointments.         Since the
     publication of the Commission’s Report, the HCRC has submitted Budget
     Change Proposals to expand the HCRC’s ability to accept appointment in
     every budget cycle. To date, none of these proposals have been funded.

            4.    Pursuant to its legislative mandate as a resource center for
     California capital postconviction attorneys (Cal. Gov’t Code § 68661), the
     HCRC collects and analyzes information concerning the California death
     penalty process and California Supreme Court’s disposition of state
     habeas petitions. The information contained in this Declaration and the



                                     Exhibit 15
                                     Page 637                          {Initials}
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  121
                                                                257 of   of 127
                                                                       263  Page ID
                                     #:4876
     Declaration of Michael Laurence
     Page 2 of 5

     accompanying Tables/Figures was collected as part of the HCRC’s
     information-gathering function.

              5.     There are 493 capital inmates in California whose judgment
     was imposed before June 9, 1994, and 318 whose judgment was imposed
     before June 9, 1989.

              6.     At the time that Mr. Jones was appointed habeas corpus
     counsel in 2000, there were approximately 215 inmates on California’s
     death row without habeas corpus counsel.

              7.     There currently are 70 condemned prisoners without counsel
     for the automatic appeal in the California Supreme Court and 352
     condemned prisoners who are awaiting appointment of postconviction
     counsel. Table/Figure 1 attached to this Declaration contains the number
     of California death row inmates without habeas corpus counsel as of June
     30 (the end of the state fiscal year) for the years between 1999 and 2013
     and as of June 6, 2014.

              8.     On average, the 77 inmates whose direct appeals are
     concluded and who lack habeas corpus counsel have waited 15.81 years
     after their sentencing; 160 inmates have been without a habeas corpus
     attorney for more than ten years, and one lacks counsel despite being
     sentenced in 1992.

              9.     Between January 1, 2009 and December 31, 2013, the state
     has averaged 22 death judgments per year, while over the same time
     period, there has been an average of 10 annual appointments to represent
     death-row inmates in their habeas corpus proceedings.



                                       Exhibit 15
                                       Page 638
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  122
                                                                258 of   of 127
                                                                       263  Page ID
                                     #:4877
     Declaration of Michael Laurence
     Page 3 of 5

            10.      Since 2003, of the 192 cases in which habeas corpus
     petitions have been filed, 40 capital habeas corpus petitioners lost their
     initially appointed private counsel and required replacement counsel – a
     replacement rate of 21 percent.

            11.      Since 2006, the HCRC has accepted approximately forty
     percent of the capital habeas appointments made by the California
     Supreme Court, and in the past five years has filed approximately forty
     percent of the first habeas corpus petitions.

            12.      For first state habeas corpus petitions filed in 2004 in capital
     cases, the respondent took an average of .53 years to file the informal
     response and petitioners took an average of .69 years to file the reply.
     Following the submission of the informal briefing in these cases, the
     California Supreme Court took an average of 3.78 years to issue an order
     denying the petition. In one case, In re Kenneth Gay, Case No. S130263,
     the California Supreme Court issued an order to show cause, and the case
     is still pending.

            13.      The California Supreme Court currently has 176 pending
     capital habeas cases. Thus number excludes initial petitions that the
     California Supreme Court permits to be filed to toll the federal statute of
     limitation period while the court locates counsel willing to accept an
     appointment, counsel files an amended petition within the court’s
     timeliness policies, and the court resolves the amended petition in
     accordance with In re Morgan, 50 Cal. 4th 932, 237 P.3d 993 (2010). The
     average pending time of these 176 cases is 4.07 years. Of the 176 cases,
     107 have been fully briefed awaiting decision for an average of 4.16 years
     (or 50 months) since the reply to the informal response was filed.

                                         Exhibit 15
                                         Page 639
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  123
                                                                259 of   of 127
                                                                       263  Page ID
                                     #:4878
     Declaration of Michael Laurence
     Page 4 of 5

     Table/Figure 2 attached to this Declaration depicts the length of time that
     the fully briefed case have been pending.

            14.      For the 68 first capital habeas corpus petitions that the
     California Supreme Court has resolved from 2008 through the filing of
     this Brief, the average time between the completion of briefing and the
     California Supreme Court’s decision is 3.98 years, or 47.8 months.

            15.      For those capital habeas corpus proceedings in which the
     California Supreme Court has issued a final decision between 2008 and
     the filing of this Declaration, the average time between sentencing and the
     final decision was 17.2 years.

            16.      Since 1978, condemned inmates have filed 267 exhaustion
     petitions in the California Supreme Court, and the average time that the
     inmate remains in state court following the filing of the exhaustion is 3.19
     years.

            17.      Since 1978, the court has resolved the merits of 729 of the
     1003 habeas corpus petitions filed by condemned inmates. Of the 729
     cases, the court has issued orders to show cause in 99 cases (13.6%), and
     ordered evidentiary hearings in 45 cases (6.2%). Of these cases, the
     California Supreme Court has granted some form of relief in capital
     habeas corpus proceedings only eighteen times or in 2.5% of the cases it
     has resolved.

            18.      Using figures publicly available from the California
     Department of Justice and the California Department of Corrections and
     Rehabilitation, I calculated the average suicide rate on California’s death
     row between 1980 and 2010 to be 299.5 per 100,000. In comparison, the

                                       Exhibit 15
                                       Page 640
CaseCase  3:11-cv-04454-SIDocument
     2:09-cv-02158-CJC       Document 28-9FiledFiled
                                   109-3             09/26/14
                                                 06/09/14  PagePage  124
                                                                260 of   of 127
                                                                       263  Page ID
                                     #:4879
     Declaration of Michael Laurence
     Page 5 of 5

     average suicide rate in the general population of California and in the
     United States in the same time period were 11.6 per 100,000, and 11.7 per
     100,000, respectively.            Table/Figure 3 attached to this Declaration
     compares the average suicide rates for California death row inmates to
     other relevant populations.

            19.      To conduct an initial assessment of the length of time it takes
     the state court to resolve non-capital habeas corpus petitions, my staff
     searched for federal recommendations, orders, and opinions resolving
     federal habeas corpus petitions filed under 28 U.S.C. section 2254 that
     included the date a state petitioner was sentenced and the date the state
     court completed review of his or her state habeas corpus claims. The time
     from sentencing to completion of state habeas corpus review in number of
     months and averaged the time across the cases that comprise the sample.
     The search was to homicide and attempted homicide cases and primarily
     searched for cases that subsequently obtained relief in federal court,
     though three cases in which the federal habeas corpus petition was denied
     were included. There was not a significant difference in the length of the
     state court process for non-capital petitions based on whether or not they
     received relief in federal court.

             The foregoing is true and correct and executed under penalty of
     perjury under the laws of the United States and the State of California on
     June 9, 2014.


                                                /s/ Michael Laurence
                                                Michael Laurence




                                            Exhibit 15
                                            Page 641
   CaseCase  3:11-cv-04454-SIDocument
        2:09-cv-02158-CJC       Document 28-9FiledFiled
                                      109-3             09/26/14
                                                    06/09/14  PagePage  125
                                                                   261 of   of 127
                                                                          263  Page ID
                                        #:4880

TABLE/FIGURE 1

  Fiscal       Number of inmates
 year end    needing habeas counsel
6/30/1999                        160
6/30/2000                        215
6/30/2001                        220
6/30/2002                        260
6/30/2003                        248
6/30/2004                        263
6/30/2005                        266
6/30/2006                        271
6/30/2007                        279
6/30/2008                        284
6/30/2009                        303
6/30/2010                        315
6/30/2011                        324
6/30/2012                        332
6/30/2013                        341
6/06/2014                        352
Source: California Supreme Court
Automatic Appeals Monitor and Habeas
Corpus Resource Center




                                        Exhibit 15
                                        Page 642
  CaseCase  3:11-cv-04454-SIDocument
       2:09-cv-02158-CJC       Document 28-9FiledFiled
                                     109-3             09/26/14
                                                   06/09/14  PagePage  126
                                                                  262 of   of 127
                                                                         263  Page ID
                                       #:4881

TABLE/FIGURE 2


              Number of Fully Briefed Habeas Corpus Cases
                     Currently Awaiting Decision
                                               as of 6/6/14


                                                                                   24
                                                                            21



                                                                     14
                                                              13
                                                                                          11

                                                        7
                                                6
                              3
    2        2       2                   2


   2002    2003     2004    2005        2007   2008    2009   2010   2011   2012   2013   2014

 Source: Habeas Corpus Resouce Center




                                                 Exhibit 15
                                                 Page 643
   CaseCase  3:11-cv-04454-SIDocument
        2:09-cv-02158-CJC       Document 28-9FiledFiled
                                      109-3             09/26/14
                                                    06/09/14  PagePage  127
                                                                   263 of   of 127
                                                                          263  Page ID
                                        #:4882

TABLE/FIGURE 3


                        Average Suicide Rates 1980-2010
                                               (per 100,000)

                 California Death Row Suicide Rate

         California General Population Suicide Rate

   California General Population Male Suicide Rate

     United States General Population Suicide Rate

United States General Population Male Suicide Rate

                                                      0       50    100     150     200     250   300   350
 Souce: California Department of Corrections and Rehabilitation, California Department of
 Justice, and Habeas Corpus Resource Center




                                                          Exhibit 15
                                                          Page 644
